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                     EXHIBIT 1
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FEDERAL AGENCY AND OFFICE:                   U.S. Environmental Protection Agency, Office of
                                             the Greenhouse Gas Reduction Fund

FUNDING OPPORTUNITY TITLE:                   National Clean Investment Fund (NCIF)

ANNOUNCEMENT TYPE:                           Request for Applications (RFA)

FUNDING OPPORTUNITY NUMBER: EPA-R-HQ-NCIF-23

ASSISTANCE LISTING NUMBER:                   66.957

IMPORTANT DATES:

       October 12, 2023                      Closing Date
       By March 2024                         Anticipated Notification of Selections
       By July 2024                          Anticipated Start of Period of Performance

DEADLINE: Application packages must be submitted on or before October 12, 2023 at 11:59
PM (Eastern Time) through Grants.gov. Applications received after the closing date and time will
not be considered for funding. Please refer to Section IV.A: Due Date and Submission Instructions
and Appendix A: Grants.gov Application Submission Instructions for further instructions.

NOTE: Transfers of EPA funds awarded through this competition must comply with the
Procurement Standards in 2 CFR Parts 200 and 1500, EPA Subaward Policy, and EPA Guidance
on Participant Support Costs, depending on the vehicle that the grantee uses to transfer funds, as
well as the Participation by Disadvantaged Business Enterprises in EPA Programs requirements
in 40 CFR Part 33. Prior to naming contractors (including consultants) or subrecipients in your
application, please carefully review Section IV.d, “Contracts and Subawards,” of EPA Solicitation
Clauses as well as the guidance in Section III.B: Named Contractors and Named Subrecipients.
EPA does not accept justifications for sole source contracts for services or products available in
the commercial marketplace based on a contractor’s role in preparing an application or existing
relationships that an applicant may have established without complying with competitive
procurement requirements. For this competition, EPA requires applicants that name
subrecipients to submit coalition applications and include the named subrecipients as
coalition members; all named subrecipients must be coalition members.

As discussed in Section IV.A: Due Date and Submission Instructions, in concert with EPA’s
commitment to conducting business in an open and transparent manner, copies of applications
selected under this funding opportunity may be made publicly available on the GGRF website or
another public website for a period of time after the selected applications are announced.
Therefore, clearly indicate which portion(s) of the application, if any, you are claiming contains
confidential, privileged, or sensitive information. As provided at 40 CFR § 2.203(b), if no claim
of confidential treatment accompanies the information when it is received by EPA, it may be made
available to the public by EPA without further notice to the applicant.




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Section I. Funding Opportunity Description
A. Background
In the United States and globally, we are already experiencing the impacts of climate change. As
described in The Long-Term Strategy of the United States, the time is now for decisive action, and
the United States is boldly tackling the climate crisis. The Biden Administration has set climate
goals to reduce greenhouse gas emissions 50-52 percent below 2005 levels in 2030, reach 50
percent zero-emission vehicles share of all new passenger cars and light trucks sold in 2030,
achieve a carbon pollution-free electricity sector by 2035, and achieve net-zero emissions by no
later than 2050, as outlined in the U.S. Nationally Determined Contribution and in Executive Order
14037 (Strengthening American Leadership in Clean Cars and Trucks). Further, the Biden
Administration has been clear that achieving these and other climate goals must simultaneously
deliver against other critical priorities, including promoting equity and environmental justice,
strengthening our economic competitiveness, creating high-quality jobs, and growing our energy
independence. President Biden has codified these priorities in Executive Order 14005 (Ensuring
the Future Is Made in All of America by All of America's Workers), Executive Order 14008
(Tackling the Climate Crisis at Home and Abroad), Executive Order 14082 (Implementation of
the Energy and Infrastructure Provisions of the Inflation Reduction Act of 2022), and Executive
Order 14096 (Revitalizing Our Nation’s Commitment to Environmental Justice for All). President
Biden is furthering these priorities through targeted initiatives, such as the Interagency Working
Group on Coal and Power Plant Communities, which targets the economic revitalization of coal
and power plant communities, and the Justice40 Initiative, which sets the goal that 40% of the
overall benefits from certain federal investments flow to disadvantaged communities. Achieving
these goals and priorities will require a tremendous amount of financing and private capital for
greenhouse gas- and air pollution-reducing projects across the country, especially in and for the
benefit of low-income and disadvantaged communities.

President Biden’s Inflation Reduction Act authorized the U.S. Environmental Protection Agency
(EPA) to implement the Greenhouse Gas Reduction Fund (GGRF) to help achieve these goals and
priorities, creating a historic $27 billion investment in communities across the country—from
states to territories to Tribal lands, from the largest urban cities to the most remote rural towns.
This bold investment will not only deploy clean energy and combat the climate crisis but also
improve health outcomes, lower energy costs, and create high-quality jobs for Americans—all
while strengthening our country’s economic competitiveness and ensuring energy security.

As part of this investment, EPA is launching three distinct but complementary grant competitions:
a $14 billion National Clean Investment Fund competition to finance clean technology deployment
nationally; a $6 billion Clean Communities Investment Accelerator competition to finance clean
technology deployment in low-income and disadvantaged communities while simultaneously
building the capacity of community lenders that serve those communities; and a $7 billion Solar
for All competition to spur adoption of clean distributed solar energy that lowers energy bills for
millions of Americans in low-income and disadvantaged communities. The National Clean
Investment Fund and Clean Communities Investment Accelerator will work in tandem to deploy
much-needed capital for clean technologies into communities across the country. The National
Clean Investment Fund will create centralized, long-term financing institutions with the scale
required to transform financial markets, while the Clean Communities Investment Accelerator will


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build the capacity of community lenders to draw on that capital to catalyze deployment of projects
in communities all across the country—especially in communities that have long faced barriers
accessing capital and that most need the benefits of clean technology projects. All competitions
are covered under the President’s Justice40 Initiative, which sets the goal that 40% of the overall
benefits from certain federal investments in climate, clean energy, and other areas flow to
disadvantaged communities. This competition will require each grantee to expend at least 40% of
funds for the purposes of providing financial assistance in low-income and disadvantaged
communities, as defined in this funding opportunity.

This Notice of Funding Opportunity provides details on the $14 billion National Clean
Investment Fund competition. This competition will provide grants to 2–3 national nonprofit
financing entities to create national clean financing institutions capable of partnering with the
private sector to provide accessible, affordable financing for tens of thousands of clean technology
projects nationwide. These national nonprofits will provide financing to individuals and families,
nonprofit organizations, for-profit businesses (especially small businesses), units of government,
and others deploying these projects, which will reduce pollution while creating jobs, accelerating
progress toward energy security, and lowering energy costs. These national nonprofits will also
provide capital to community lenders and other similar institutions so that they can, in turn, provide
financing to the communities that they serve. To multiply the impact of public funds, these national
nonprofit financing entities will mobilize private capital as they finance these projects, ensuring
that every dollar of public funds generates several times more private-sector investment into
emissions- and air pollution-reducing projects. To ensure that public funds are spent efficiently
and for the maximum benefit of American communities, especially low-income and disadvantaged
communities, these national nonprofit financing entities will be subject to, among other measures,
rigorous community engagement and accountability strategies; comprehensive equity policies and
practices; robust labor and workforce plans; strong governance structures; stringent legal and
compliance risk management, financial risk management, and consumer protection plans; and
cohesive programmatic, financial, and administrative reporting and transparency requirements.

B. Statutory Authority
The Inflation Reduction Act amends the Clean Air Act to include Section 134 (42 USC § 7434),
which authorizes the EPA to make competitive grants under the National Clean Investment Fund.
The National Clean Investment Fund is funded by two separate appropriations to make competitive
grants to eligible recipients: $11.97 billion from Section 134(a)(2) and $2 billion from Section
134(a)(3) (out of $8 billion provided in Section 134(a)(3)).

The National Clean Investment Fund implements the statute’s use of funds for direct investments
under Section 134(b)(1). Section 134(b)(1) directs recipients of funds for direct investments to (A)
provide financial assistance to qualified projects at the national, regional, state, and local levels;
(B) prioritize investment in qualified projects that would otherwise lack access to financing; and
(C) retain, manage, recycle, and monetize all repayments and other revenue received from fees,
interest, repaid loans, and any other financial assistance provided using the grant funds to ensure
continued operability.

The statute limits the entities eligible to compete for funds under Section 134(a)(2) and 134(a)(3)
to “eligible recipients.” Section 134(c)(1) defines an eligible recipient as a nonprofit organization


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that (A) is designed to provide capital, leverage private capital, and provide other forms of financial
assistance for the rapid deployment of low- and zero-emission products, technologies, and
services; (B) does not take deposits other than deposits from repayments and other revenue
received from financial assistance using the grant funds; (C) is funded by public or charitable
contributions; and (D) invests in or finances projects alone or in conjunction with other investors.

The statute also limits the projects eligible for financial assistance under Section 134(b)(1) to
“qualified projects.” Section 134(c)(3) provides that a qualified project is any project, activity or
technology that (A) reduces or avoids greenhouse gas emissions or other forms of air pollution in
partnership with, and by leveraging investment from, the private sector; or (B) assists communities
in the efforts of those communities to reduce or avoid greenhouse gas emissions and other forms
of air pollution.

C. GGRF Program Objectives
The National Clean Investment Fund will advance the three GGRF program objectives of reducing
emissions of greenhouse gases and other air pollutants; delivering benefits to American
communities, particularly low-income and disadvantaged communities; and mobilizing financing
and private capital.
   • Program Objective 1: Reduce emissions of greenhouse gases and other air pollutants.
       Grantees will invest in projects, activities, and technologies that reduce emissions of
       greenhouse gases and other air pollutants that harm communities and contribute to climate
       change. Grantees will accelerate progress toward the climate goals of the United States,
       including reducing greenhouse gas emissions 50-52 percent below 2005 levels in 2030,
       reaching 50 percent zero-emission vehicles share of all new passenger cars and light trucks
       sold in 2030, achieving a carbon pollution-free electricity sector by 2035, and achieving
       net-zero emissions by no later than 2050.
   • Program Objective 2: Deliver benefits of greenhouse gas- and air pollution-reducing
       projects to American communities, particularly low-income and disadvantaged
       communities.1 Grantees will ensure that the projects they invest in directly benefit
       Americans by improving health outcomes, lowering energy costs, creating high-quality
       jobs, and more. At least 40% of funds awarded under this competition must be used for the
       purposes of providing financial assistance in low-income and disadvantaged communities.
   • Program Objective 3: Mobilize financing and private capital to stimulate additional
       deployment of greenhouse gas- and air pollution-reducing projects. Grantees will
       mobilize financing and private capital for underinvested projects and underinvested
       communities, which will demonstrate the market-wide opportunity for financial markets
       and institutions to finance clean technology projects. As a result, grantees will spur market


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  This funding solicitation uses the term “American communities” to refer to communities within the boundaries of
the ten EPA regions and to “Americans” as individuals living within the boundaries of the ten EPA regions. The ten
regions are: EPA Region 1 (CT, ME, MA, NH, RI, VT, and 10 Indian Tribes); EPA Region 2 (NJ, NY, PR, VI, and 8
Indian Nations); EPA Region 3 (DE, DC, MD, PA, VA, WV, and 7 Indian Tribes); EPA Region 4 (AL, FL, GA, KY,
MS, NC, SC, TN, and 6 Indian Tribes); EPA Region 5 (IL, IN, MI, MN, OH, WI, and 35 Indian Tribes); EPA Region
6 (AR, LA, NM, OK, TX, and 66 Indian Tribes); EPA Region 7 (IA, KS, NE, MO, and 9 Indian Tribes); EPA Region
8 (CO, MT, ND, SD, UT, WY, and 28 Indian Tribes); EPA Region 9 (AZ, CA, HI, NV, American Samoa,
Commonwealth of the Northern Mariana Islands, Federated States of Micronesia, Guam, Marshall Islands, Republic
of Palau, and 148 Indian Tribes); and EPA Region 10 (AK, ID, OR, WA, and 271 Indian Tribes).


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       transformation, supporting market-wide accessibility of affordable financing for clean
       technology projects to multiply the impact of grant funds.

Grantees must align their programs with these three objectives, including setting goals and targets
as described in Section IV.C: Content of Application Submission.

D. Competition Terminology
This section defines competition terminology referenced throughout this funding opportunity.
Some of this terminology includes important requirements of the grant award that should be
carefully considered in preparing the application.

Capital Mobilization: For this competition, capital mobilization refers to capital contributions
made toward qualified projects as a result of the grant’s activities, excluding capital contributions
made with grant funds. Private capital mobilization is defined as a subset of capital mobilization,
excluding additional capital contributions (such as tax credits and other financial incentives) from
federal, Tribal, state, territorial, and local government entities. Applicants may define their own
methodologies to set goals and targets for capital mobilization for the purposes of their
applications. An example methodology is provided below; applicants that do not use this
methodology will not be penalized.

Capital mobilization is defined as additional capital contributions toward projects that are
financed by the grantee (this figure excludes the grant funds themselves). Additional capital
contributions may include financing provided by the grantee with funds raised from private capital
providers and philanthropic sources (including through balance-sheet leverage and
securitizations), additional sources of financing provided to project sponsors from private capital
providers, and equity contributions from project sponsors. The capital mobilization ratio is defined
as the grantee’s capital mobilization, divided by the grantee’s capital commitments through
financial assistance. This ratio excludes the grantee’s expenditures for predevelopment, market-
building, and program administration activities.

Coalition Application: A coalition application is one of two types of eligible applications under
this competition, with the other type being an individual application as described in Section III.A:
Eligible Applicants. A coalition application is composed of one lead applicant, which partners with
one or more non-lead coalition members that are named in the application and would receive
subawards (in the form of subgrants) to carry out a portion of the grant’s activities if the application
is selected. Subgrantees may engage in any of the grant’s eligible activities other than
providing subgrants to other organizations for those organizations to provide financial
assistance to qualified projects. However, these and other first-tier subgrantees may still provide
subgrants to second-tier subgrantees for predevelopment, market-building, and program
administration activities to the extent permitted in Appendix A of the EPA Subaward Policy.

The lead applicant must be an eligible recipient and submit the application on behalf of the
coalition. The non-lead coalition member(s) may be eligible recipients or other types of
organizations eligible for subawards under the EPA Subaward Policy. A coalition application
should describe the lead applicant’s program plan and organizational plan, incorporating
the activities of coalition members as well as the lead applicant’s management and oversight


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of those activities. For example, the portfolio allocation should describe the project categories that
will be deployed through activities carried out by the lead applicant and non-lead coalition
members, and the legal and compliance risk management plan should describe how the lead
applicant will manage legal and compliance risk across its own activities as well as the activities
of non-lead coalition members.

If selected, the lead applicant will become the grantee, administer the grant as a pass-through entity
for the purposes of 2 CFR Part 200 and the EPA Subaward Policy, and be accountable to EPA for
effectively carrying out the full scope of work and the proper financial management of the grant
(including subawards to non-lead coalition members). Additionally, if selected, as provided in 2
CFR § 200.332, non-lead coalition members will become subrecipients accountable to the lead
applicant for proper use of EPA funding. Note that pursuant to 2 CFR § 200.332(a)(2), as
implemented in Items 2 and 4 of EPA’s Establishing and Managing Subawards General Term
and Condition, successful lead applicants of coalitions must ensure that the terms and
conditions of the grant agreement “flow down” to any coalition members that are provided
subawards. EPA has developed a template for subaward agreements, available in Appendix
D of the EPA Subaward Policy.

Community Lender: Under the Clean Communities Investment Accelerator, grantees will
provide funding and technical assistance to “community lenders,” which are public, quasi-public,
not-for-profit, or nonprofit entities that provide financial assistance to qualified projects at the
state, local, territorial, or Tribal level or in the District of Columbia, including community- and
low-income-focused lenders and capital providers. In addition to being eligible for funding and
technical assistance from grantees of the Clean Communities Investment Accelerator, community
lenders are eligible to transact with grantees of the National Clean Investment Fund through loans,
loan guarantees, and other financial products.

Financial Assistance: Section 134(b)(1) of the Clean Air Act directs that grantees use funds for
“financial assistance.” For this competition, consistent with the definition of “Federal financial
assistance” in 2 CFR § 200.1, financial assistance constitutes financial products, including debt
(such as loans, partially forgivable loans, forgivable loans, zero-interest and below-market interest
loans, loans paired with interest rate buydowns, secured and unsecured loans, lines of credit,
subordinated debt, warehouse lending, loan purchasing programs, and other debt instruments),
equity (such as equity project finance investments, private equity investments, and other equity
instruments), hybrids (such as mezzanine debt, preferred equity, and other hybrid instruments),
and credit enhancements (such as loan guarantees, loan guarantee funds, loan loss reserves, and
other credit enhancement instruments). For this competition, subgrants are not eligible as financial
assistance. Grantees’ expenditures for financial assistance will be in the form of Subawards,
Participant support costs, and acquisitions of Intangible property for a financial assistance
purpose, as defined in 2 CFR § 200.1, with the characterization dependent on the nature of the
financial assistance. Additional information is provided in Appendix D.B: Guidance for Financial
Assistance in the Detailed Budget Table.

Grantees may provide financial assistance to various types of counterparties, which include (as
examples) project sponsors as well as community lenders and other similar institutions. Project
sponsors—such as individuals and families, nonprofit organizations and for-profit businesses, and



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others—may receive financial products such as consumer and business loans to deploy qualified
projects in their homes, businesses, and communities. Community lenders and other similar
institutions—including community development financial institutions, credit unions, green banks,
housing finance agencies, minority depository institutions, farmer-owned cooperatives,
community banks, and mission-driven investors—may receive financial products such as
warehouse loans, preferred equity investments, and loan guarantees as well as participate in loan
purchasing programs that directly enable them to provide financial products to deploy qualified
projects in their communities.

Note: If your application proposes financial assistance in the form of equity investments, it will be
expected to account for the unique risks of equity investments as well as the capabilities required
to manage those risks. This includes, but is not limited to, describing the types of equity
investments planned and the allocation of funds across those types of equity investments, providing
investment policies to manage the risks of those equity investments, explaining how those equity
investments generate program income to support continued operability, describing the staffing
plan capable of conducting diligence of such equity investments, sharing a financial risk
management plan that accounts for the unique features of those equity investments, and more.

Low-Income and Disadvantaged Communities: GGRF defines low-income and disadvantaged
communities as encompassing the following four categories, as defined below: (a) communities
identified as disadvantaged by the CEJST mapping tool; (b) a limited number of additional
communities identified as disadvantaged by the EJScreen mapping tool; (c) geographically
dispersed low-income households; and (d) properties providing affordable housing. Section
134(a)(3) of the Clean Air Act appropriates funds “for the purposes of providing financial
assistance and technical assistance in low-income and disadvantaged communities.” For this
competition, grantees will be required to use at least 40% of grant funds for the purposes of
providing financial assistance in the low-income and disadvantaged communities defined below.
Appendix C: Guidance for Low-Income and Disadvantaged Community Expenditures provides
guidance for assessing expenditures against this requirement.
    a. CEJST-Identified Disadvantaged Communities: The Climate and Economic Justice
        Screening Tool (CEJST) is a publicly-available mapping tool developed by the White
        House Council on Environmental Quality. GGRF’s definition of “disadvantaged
        communities” includes all communities identified as disadvantaged through the CEJST.
    b. EJScreen-Identified Disadvantaged Communities: EJScreen is a publicly-available,
        place-based environmental justice screening and mapping tool developed by the EPA.
        GGRF’s definition of “disadvantaged communities” includes (1) the limited supplemental
        set of census block groups that are at or above the 90th percentile for any of EJScreen’s
        supplemental indexes when compared to the nation or state or (2) geographic areas within
        Tribal lands as included in EJScreen.2
    c. Geographically Dispersed Low-Income Households: GGRF’s definition of
        “geographically dispersed low-income households” includes low-income individuals and
        households that fall within either of the two categories listed below.

2
  Within EJScreen, EJScreen-Identified Disadvantaged Communities can be found in the “Places” tab by clicking the
“Justice40/IRA” category and then selecting “EPA IRA Disadvantaged Communities.” This includes the following
Tribal lands: Alaska Native Allotments, Alaska Native Villages, American Indian Reservations, American Indian Off-
reservation Trust Lands, and Oklahoma Tribal Statistical Areas.


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             •  Individuals and households with incomes at or below the greater of:
                    o For Metropolitan Areas: (1) 80% Area Median Income (AMI) and (2)
                         200% of the Federal Poverty Level
                    o For Non-Metropolitan Areas: (1) 80% AMI; (2) 80% Statewide Non-
                         Metropolitan Area AMI; and (3) 200% of the Federal Poverty Level
           • Individuals and households currently approved for assistance from or participation
                in at least one of the following income-based or income-verified federal assistance
                programs, with an award letter within the last 12 months: (1) U.S. Department of
                Health and Human Services’ (HHS) Low Income Home Energy Assistance
                Program; (2) U.S. Department of Agriculture’s (USDA) Supplemental Nutrition
                Assistance Program; (3) U.S. Department of Energy’s (DOE) Weatherization
                Assistance Program; (4) Federal Communications Commission’s Lifeline Support
                for Affordable Communications; (5) USDA’s National School Lunch Program; (6)
                U.S. Social Security Administration’s Supplemental Security Income; or (7) any
                other verified government or non-profit program serving Asset Limited, Income
                Constrained, Employed (ALICE) individuals or households designated by the EPA
                Administrator
    d. Properties Providing Affordable Housing: GGRF’s definition of “properties providing
       affordable housing” includes properties serving low-income individuals and households
       that fall within either of the two categories listed below.
           • Multifamily housing with rents not exceeding 30% of 80% AMI for at least half of
                residential units and with an active affordability covenant from one of the following
                federal or state housing assistance programs: (1) Low-Income Housing Tax Credit;
                (2) a housing assistance program administered by the U.S. Department of Housing
                and Urban Development (HUD), including Public Housing, Section 8 Project-
                Based Rental Assistance, Section 202 Housing for the Elderly, Section 811
                Housing for Disabled, Housing Trust Fund, Home Investment Partnership Program
                Affordable Rental and Homeowner Units, Permanent Supportive Housing, and
                other programs focused on the goal of ending homelessness funded under HUD’s
                Continuum of Care Program; (3) a housing assistance program administered by
                USDA under Title V of the Housing Act of 1949, including under Sections 514 and
                515; (4) a housing assistance program administered by a tribally designated housing
                entity, as defined in Section 4(22) of the Native American Housing Assistance and
                Self-Determination Act of 1996 (25 USC § 4103(22)); or (5) any other housing
                assistance program designated by the EPA Administrator
           • Naturally-occurring (unsubsidized) affordable housing with rents not exceeding
                30% of 80% AMI for at least half of residential units3

Market-Building Activities: Under 2 CFR § 200.403 and other applicable provisions of 2 CFR
Part 200, Subpart E, costs are allowable under federal awards so long as they are necessary and
reasonable for the performance of the grant award. For this competition, consistent with these
regulations, market-building activities are allowable costs, with such activities (1) building the
market for financeable qualified projects, (2) not tied directly to qualified projects grantees intend

3
 Applicants will be evaluated on their investment policies to integrate housing affordability protection, including but
not limited to policies that maintain affordability of existing housing stock, minimize displacement, and prevent rapid
cost increases.


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to finance, and (3) being necessary and reasonable for the deployment of financial assistance to
qualified projects. Market-building activities include activities to generate market-wide demand
for qualified projects, including (but not limited to) marketing, customer education and
engagement, community outreach, contractor engagement, workforce development, and other
non-financial market-building activities. Market-building activities also include activities to build
a more supportive financial market for financing qualified projects, including (but not limited to)
standardization of documentation, development of new financial products, and other financial
market-building activities.

Predevelopment Activities: Under 2 CFR § 200.403 and other applicable provisions of 2 CFR
Part 200, Subpart E, costs are allowable under federal awards so long as they are necessary and
reasonable for the performance of the grant award. For this competition, consistent with these
regulations, predevelopment activities are allowable costs, with such activities (1) improving the
likelihood of the grantee financing qualified projects, (2) tied directly to qualified projects grantees
intend to finance, and (3) being necessary and reasonable for the deployment of financial assistance
to qualified projects. Predevelopment activities include (but are not limited to) site and building
assessments (e.g., energy audits); financial and technological feasibility studies (e.g., solar
resource studies); design and engineering support; and permitting support.

Program Administration Activities: Under 2 CFR § 200.403 and other applicable provisions of
2 CFR Part 200, Subpart E, costs are allowable under federal awards so long as they are necessary
and reasonable for the performance of the grant award. For this competition, consistent with these
regulations, program administration activities are allowable costs, with such activities supporting
administration of the grant program. Program administration activities include (but are not limited
to) conducting due diligence and underwriting financial transactions; establishing and convening
advisory councils; conducting program performance and other reporting activities (e.g.,
expenditures for personnel and equipment to procure technology infrastructure and expertise for
data analysis, performance, and evaluation); and supporting, monitoring, overseeing, and auditing
subrecipients, contractors, and program beneficiaries.

Priority Project Categories: For this competition, priority project categories include: (a)
distributed energy generation and storage; (b) net-zero emissions buildings; and (c) zero-emissions
transportation. A project that falls within one or more of the priority project categories is likely to
be a qualified project, but it is not guaranteed to be a qualified project. Applications are expected
to either cover each of the priority project categories in their investment strategies or provide a
rationale for why any of the priority project categories are not covered; any application with such
a rationale will not be penalized and will instead be awarded points based on the strength of the
rationale. Note that any project that meets the requirements of a qualified project is eligible
for support under this competition.
    a. Distributed Energy Generation and Storage: Projects, activities, and technologies that
        deploy small-scale power generation and/or storage technologies (typically from 1 kW to
        10,000 kW), plus enabling infrastructure necessary for deployment of such generation
        and/or storage technologies. For this competition, the projects, activities, and technologies
        must support carbon pollution-free electricity, which is electrical energy produced from
        resources that generate no carbon emissions, consistent with the definition specified in
        Executive Order 14057 (Catalyzing Clean Energy Industries and Jobs Through Federal



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       Sustainability). Examples of the types of projects in this category include (but are not
       limited to): residential rooftop solar; residential rooftop solar-plus-storage; community
       wind and solar; fuel cells; stand-alone energy storage, including replacement of backup
       diesel generators with battery storage; distributed generation and storage assets that support
       microgrids; and the previously listed projects paired with distribution system upgrades
       necessary for project interconnection. This priority project category is intended to make an
       outsized impact on delivering clean energy and energy efficiency benefits—especially to
       low-income and disadvantaged communities.
    b. Net-Zero Emissions Buildings: Projects, activities, and technologies that either (1) retrofit
       an existing building, making a substantial contribution to that building being a net-zero
       emissions building and as part of a plan for that building achieving zero-over-time, or (2)
       construct a new net-zero emissions building in a low-income and disadvantaged
       community. Net-zero emissions buildings are defined in Executive Order 14057
       Implementing Instructions,4 with the primary focus of reducing emissions but with
       occupant health, environmental stewardship, and climate resilience also as critical elements
       of a holistic building design, construction, and operations strategy. Net-zero emissions
       buildings include residential (e.g., 1- to 4-family homes, manufactured homes, multifamily
       housing), commercial, industrial, and other buildings—especially properties providing
       affordable housing. Examples of the types of projects in this category include (but are not
       limited to): decarbonization of affordable multifamily housing through energy and water
       efficiency, geothermal heating and cooling, and grid-interactive appliance electrification;
       school building space and water heating grid-interactive electrification; whole-home
       retrofits for 1- to 4-family homes and manufactured homes to improve energy efficiency;
       decarbonization retrofits as part of adaptive reuse of existing buildings to create housing,
       childcare centers, and other community facilities; and new construction of net-zero
       residential buildings in rural areas as well as in urban infill, transit-oriented locations that
       are in low-income and disadvantaged communities. This priority project category is
       intended to make an outsized impact on delivering affordable and sustainable housing
       benefits—especially to low-income and disadvantaged communities.
    c. Zero-Emissions Transportation: Projects, activities, and technologies that deploy zero-
       emissions transportation modes, plus enabling infrastructure necessary for zero-emissions
       transportation modes—especially in communities that are overburdened by existing diesel
       pollution, particulate matter concentration, and degraded air quality. Zero-emissions
       transportation should be consistent with the zero-emissions transportation decarbonization
       strategies in The U.S. National Blueprint for Transportation Decarbonization. Examples of
       the types of projects in this category include (but are not limited to): deployment of
       chargers (including prewiring for future charger installation) and other infrastructure to
       support zero-emissions micromobility options (e.g., electric bikes and scooters) as well as
       zero-emissions light-duty vehicles for individuals and families, particularly at and near
       multifamily housing; deployment of chargers and other infrastructure to support zero-
       emissions medium- and heavy-duty vehicles for small businesses and farms; charging and
       refueling depots for zero-emissions school buses, trucks, and public transportation

4
  As defined in Executive Order 14057, a net-zero emissions building is an efficient, all electric building that is
designed and operated so scope 1 and scope 2 greenhouse gas emissions from all facility energy use equal zero on an
annual basis, when connected to on-site renewable energy or a regional grid that provides 100 percent carbon-free
electricity on a net annual basis.


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        vehicles; and small-scale infrastructure to improve walkability and bikeability. This
        priority project category is intended to make a particular impact on delivering clean
        transportation benefits—especially to low-income and disadvantaged communities.

Program Income: Consistent with 2 CFR § 200.1, Program income means gross income earned
by a grantee (or a subgrantee) that is directly generated by a supported activity or earned as a result
of the grant award. For this competition, program income includes but is not limited to loan and
other origination fees, interest payments, principal repayments, dividends from equity investments,
interest from short-term securities (e.g., cash deposits), asset sales, and other sources of program
income. EPA-specific rules on program income are provided at 2 CFR § 1500.8 and on the
coverage of allowable fund raising costs are provided under 2 CFR § 200.442 (with additional
details in Item 4 of the EPA Guidance on Selected Items of Cost for Recipients). These rules apply
to grantees as well as subgrantees (such as non-lead coalition members) that are provided subgrants
for the purposes of carrying out a portion of the grant’s activities. Additional guidance will be
provided in the terms and conditions of the grant agreement.

Qualified Project: Section 134(c)(3) of the Clean Air Act provides that a qualified project is any
project, activity, or technology that (A) reduces or avoids greenhouse gas emissions and other
forms of air pollution in partnership with, and by leveraging investment from, the private sector;
or (B) assists communities in the efforts of those communities to reduce or avoid greenhouse gas
emissions and other forms of air pollution. For this competition, a project must meet all six
requirements listed below at the time of financing to be eligible as a “qualified project.” Note that
any project that meets the requirements of a qualified project is eligible for support under
this competition. Appendix B: Qualified Project Checklist provides an illustrative checklist of
these requirements.
    a. The project, activity, or technology would reduce or avoid greenhouse gas emissions,5
        consistent with the climate goals of the United States to reduce greenhouse gas emissions
        50-52 percent below 2005 levels in 2030, reach 50 percent zero-emission vehicles share of
        all new passenger cars and light trucks sold in 2030, achieve a carbon pollution-free
        electricity sector by 2035, and achieve net-zero emissions by no later than 2050. The
        project, activity, or technology may reduce or avoid such emissions through its own
        performance or through assisting communities in their efforts to deploy projects, activities,
        or technologies that reduce or avoid such emissions.
    b. The project, activity, or technology would reduce or avoid emissions of other air pollutants.
        The project, activity, or technology may reduce or avoid such emissions through its own
        performance or through assisting communities in their efforts to deploy projects, activities,
        or technologies that reduce or avoid such emissions.
    c. The project, activity, or technology would deliver additional benefits (i.e., in addition to
        reducing or avoiding emissions of greenhouse gases and other air pollutants) to American
        communities within one or more of the following four categories: clean energy and energy
        efficiency; clean transportation; affordable and sustainable housing; and training and
        workforce development.6

5
  For the purposes of this competition, greenhouse gas emissions are carbon dioxide, hydrofluorocarbons, methane,
nitrous oxide, perfluorocarbons, and sulfur hexafluoride, as defined in Section 134(c)(2) of the Clean Air Act.
6
  The Interim Implementation Guidance for the Justice40 Initiative provides examples of benefits aligned to these
categories for the purposes of this competition.


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   d. The project, activity, or technology may not have otherwise been financed.
   e. The project, activity, or technology would mobilize private capital.
   f. The project, activity, or technology would support only commercial technologies, defined
      as technologies that have been deployed for commercial purposes at least three times for a
      period of at least five years each in the United States for the same general purpose as the
      project, activity, or technology.

E. Scope of Work
Note: This section does not contain any threshold requirements for applicants but rather
articulates EPA’s vision for the work that grantees will accomplish during and after the period of
performance, including the long-term impact of this work. Threshold requirements are included
in Section III.C: Threshold Eligibility Criteria.

In the National Clean Investment Fund competition, applicants should propose establishing
centralized, long-term financing institutions that provide affordable, accessible financial assistance
to help communities deploy qualified projects—with at least 40% of funds used for the purposes
of providing financial assistance in low-income and disadvantaged communities. Applicants
should ensure that these centralized, long-term financing institutions support the GGRF program
objectives, including through aligning with the United States’ climate goals and with associated
decarbonization pathways, such as The Long-Term Strategy of the United States; delivering
critical benefits, such as improved health outcomes, lower energy costs, and high-quality jobs, to
American communities, especially to low-income and disadvantaged communities most in need
of these benefits; and mobilizing private capital to support the financial market transformation
required to achieve the United States’ climate goals.

Applicants should provide details on the types of projects they will seek to support, who will
deploy those projects, and where they will be deployed. Applicants must propose portfolios that
consist of qualified projects, as described in Section I.D: Competition Terminology, which exist in
every sector of the economy—Electricity, Transportation, Buildings, Industry, and Agriculture and
Lands. Applicants should justify why their project categories meet the eligibility requirements for
qualified projects. Applicants should consider the three priority project categories, as described in
Section I.D: Competition Terminology—distributed energy generation and storage; net zero-
emissions buildings; and zero-emissions transportation. Across project types, applicants should
describe which segments (e.g., consumers, small businesses) will deploy the projects—with
particular consideration for underrepresented businesses that currently and historically have lacked
access to capital, such as small businesses, low-income and disadvantaged community-led
businesses, Native American-owned businesses, women-owned businesses, and
community/locally-owned businesses. Across project types, applicants should also describe where
they will be deployed, with particular consideration for geographically diverse communities,
including rural communities; Tribal communities; and low-income and disadvantaged
communities, including those that are also communities with environmental justice concerns,
energy communities, and persistent poverty counties.

Applicants should explain how they plan to work with a wide array of partners to shape the design
and execution of the program as well as to help build and execute on a robust, national transaction
pipeline. These partners may include community stakeholders, including environmental justice


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advocates and community-based organizations; Tribal governments and Native-serving
organizations; private capital providers; community lenders and other similar institutions (e.g.,
farmer-owned cooperatives, community banks, and mission-driven investors); philanthropic
organizations; unions and other workers’ rights groups; nonprofit technical assistance providers,
utilities, rural electric cooperatives, and contractors; federal, state, and local government agencies;
and others.

Applicants should explain how their activities would complement the grantees of the Clean
Communities Investment Accelerator, taking into consideration the different but complementary
functions of the two competitions to support community lenders and to build the market for
financeable projects. First, applicants should explain how they will provide larger sources of
capital to community lenders in the form of loans, loan guarantees, and other financial products,
which may occur (for example) after community lenders fully draw down their capital and develop
clean financing expertise as a result of the Clean Communities Investment Accelerator. Second,
applicants should explain how they will support the market’s capacity to deliver financeable
projects and demonstrate proofs of concept that enable the participation of established financial
markets and institutions, considering that the Clean Communities Investment Accelerator will
build the capacity of the community financing ecosystem.

F. Environmental Results and Strategic Plan Information
Pursuant to Section 6.a of EPA Order 5700.7A1, Environmental Results under Assistance
Agreements, EPA must link proposed assistance agreements with the Agency’s Strategic Plan.
EPA must also require applicants and grantees to adequately describe environmental outputs and
outcomes to be achieved under assistance agreements.

Awards made under this funding opportunity will support the following goals and objectives of
the FY 2022-2026 EPA Strategic Plan:
     • Goal 1: Tackle the Climate Crisis
            o Objective 1.1: Reduce Emissions that Cause Climate Change
            o Objective 1.3: Advance International and Subnational Climate Efforts
     • Goal 2: Take Decisive Action to Advance Environmental Justice and Civil Rights
            o Objective 2.1: Promote Environmental Justice and Civil Rights at the Federal,
               Tribal, State, and Local Levels
            o Objective 2.2: Embed Environmental Justice and Civil Rights into EPA’s
               Programs, Policies, and Activities
     • Goal 4: Ensure Clean and Healthy Air for All Communities
            o Objective 4.1: Improve Air Quality and Reduce Localized Pollution and Health
               Impacts
            o Objective 4.2: Reduce Exposure to Radiation and Improve Indoor Air

G. Measuring Environmental Results: Example Outputs and Outcomes
Pursuant to EPA Order 5700.7A1, Environmental Results under Assistance Agreements, EPA
must require applicants and grantees to adequately describe environmental outputs and outcomes
to be achieved under assistance agreements. Outputs and outcomes differ both in their nature and
in how they are measured. The term “output” means an environmental activity, effort, and/or
associated work product related to an environmental goal or objective that will be produced or


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provided over a period of time or by a specified date. Outputs may be quantitative or qualitative
but must be measurable during the period of performance. The term “outcome” means the result,
effect, or consequence that will occur from carrying out an environmental program or activity that
relates to an environmental or programmatic goal or objective. Outcomes may be environmental,
behavioral, health-related, or programmatic in nature; may be quantitative or qualitative; and may
not necessarily be achievable within the period of performance.

Applicants must address environmental outputs and outcomes in the Project Narrative, as
described in Section IV.C: Content of Application Submission. Those environmental outputs and
outcomes should align with the GGRF program objectives. Example outputs and outcomes aligned
to those program objectives are included in the table below.

Category           Example Outputs                                 Example Outcomes
Climate and Air       • Projects financed (total, by                   •    Reduction and avoidance of
Pollution Benefits      project category)                                   greenhouse gas emissions
                      • Projects deployed (total, by                        (e.g., carbon dioxide,
                        project category)                                   methane)
                                                                       •    Reduction and avoidance of
                      Note: Additional detail will be                       other air pollutants (e.g.,
                      expected on each project, which may                   particulate matter 2.5, sulfur
                      vary by sector and technology.                        dioxide, ammonia)
                      Distributed generation and storage
                      projects may include nameplate
                      generation/storage capacity (MW) as
                      well as clean energy generated
                      (MWh). Net zero-emissions buildings
                      projects may include number of
                      buildings and homes retrofitted
                      (including type of retrofit e.g., full
                      electrification) as well as number of
                      newly constructed net zero-emissions
                      buildings and homes (including
                      building-level details e.g., square
                      footage). Zero-emissions
                      transportation projects may include
                      number of light-, medium-, and
                      heavy-duty vehicles financed, number
                      of electric vehicle chargers financed,
                      and miles of new bike lanes financed.
Equity and                • Projects financed (by benefit              •    Clean energy and energy
Community                      type, by community type)7                    efficiency (e.g., reduction of
Benefits

7
 Benefit types may include clean energy and energy efficiency, clean transportation, affordable and sustainable
housing, training and workforce development, and other types of benefits. Community types may include low-income



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                        •   Projects deployed (by benefit            energy burden; deployment of
                            type, by community type)                 clean energy; establishment of
                        •   Number of households                     communitywide microgrids)
                            receiving financing for              •   Clean transportation (e.g.,
                            projects and total amount of             access to clean, high-
                            financing received (by                   frequency transportation;
                            community type)                          access to affordable electric
                        •   Number of households                     vehicles, charging stations,
                            benefitting from projects (by            and purchase programs)
                            community type)                      •   Affordable and sustainable
                        •   Number of businesses                     housing (e.g., improved
                            receiving financing for                  indoor air quality, reduced
                            projects and total amount of             housing cost burden)
                            financing (by business type:         •   Training and workforce
                            small business, low-income               development (e.g., increased
                            and disadvantaged                        participation in clean energy
                            community-led business,                  good job training and
                            Native American-owned                    subsequent good job
                            business, community/locally-             placement/hiring, including
                            owned business, women-                   providing the free and fair
                            owned business, other                    chance to join a union and
                            underrepresented business)               collectively bargain)
                        •   Number of businesses                 •   Other types of benefits (e.g.,
                            benefitting from projects (by            community wealth/ownership,
                            business type)                           resilience benefits,
                        •   Total investment in low-                 entrepreneurship)
                            income and disadvantaged
                            communities (by community
                            type, including properties
                            providing affordable housing)
Market                  •   Total grant funds committed          •   Significant market-wide
Transformation              to projects (total, by                   capital deployment into
Benefits                    community type, by                       emissions- and air pollution-
                            geography, by project                    reducing projects (total, by
                            category)                                community type, by project
                        •   Total private capital                    category)
                            mobilization for projects            •   Robust secondary markets
                            (total, by community type, by            participation in securitizations
                            project category)                        for emissions- and air
                        •   Total private capital                    pollution-reducing projects
                            mobilization ratio (total, by            (total, by community type, by
                            community type, by project               project category)
                            category)

and disadvantaged communities, subsets of low-income and disadvantaged communities, and other types of
communities.


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                                                                •   Affordable, accessible capital
                                                                    for individuals, families, small
                                                                    businesses, and nonprofits to
                                                                    finance clean projects (total,
                                                                    by community type, by project
                                                                    category)
                                                                •   Accessible and tailored clean
                                                                    financial products for
                                                                    individuals, families, small
                                                                    businesses, and nonprofits
                                                                    (total, by community type, by
                                                                    project category)

H. Additional Provisions for Applicants Incorporated into the Funding Opportunity
Additional provisions that apply to Sections III, IV, V, and VI of this opportunity and/or awards
made under this opportunity can be found at EPA Solicitation Clauses. These provisions are
important for applying to this opportunity, and applicants must review them when preparing
applications for this opportunity. If you are unable to access these provisions electronically at the
website above, please contact the EPA point of contact listed in Section VII: Contact Information
to obtain the provisions.




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Section II. Federal Award Information
A. Number and Amount of Awards
EPA anticipates awarding $13.97 billion in funding through this opportunity, including $11.97
billion from the appropriation under Section 134(a)(2) of the Clean Air Act and $2.00 billion from
the appropriation under Section 134(a)(3) of the Clean Air Act. EPA anticipates making 2–3 grant
awards, depending on EPA funding levels, quality of applications received, EPA priorities, and
other applicable considerations. EPA reserves the right to alter the amount of funding allocated to
this competition from Sections 134(a)(2) and 134(a)(3) of the Clean Air Act as well as the number
of awards, depending on EPA funding levels (including the availability of additional funding that
may not be used to make awards under the CCIA competition), quality of applications received,
EPA priorities, and other applicable considerations. There is no minimum or maximum award
amount for this competition, subject to EPA’s initial estimate that $13.97 will be available for
funding under this competition.

B. Conditional Awards
EPA may make conditional awards through this funding opportunity, which will be subject to
terms and conditions.

C. Period of Performance
EPA anticipates that programs funded under this opportunity will start by July 2024. All
expenditures and disbursements with the grant award funds must be made within the negotiated
period of performance of up to 7 years, subject to the provisions in 2 CFR § 200.344(b) on
liquidating obligations incurred during the period of performance as part of the close-out process.
There will be criteria in the grant’s terms and conditions for ending the period of performance
following deployment of the initial EPA funding. In addition, as provided in 2 CFR § 1500.8(d),
grantees (and, if applicable, subrecipients) will be required to retain and reuse program income for
additional capital deployment through the terms of the grantees’ close-out agreements, as
described in Section VI.C: Program Income Requirements.

D. Partial Funding
EPA reserves the right to partially fund applications by funding discrete portions or phases of
proposed programs. If EPA decides to partially fund an application, it will do so in a manner that
does not prejudice any applicants or affect the basis upon which the application, or portion thereof,
was evaluated and selected for award, and therefore maintains the integrity of the competition and
selection process. To facilitate consideration of an application for partial funding, EPA
recommends that applications separate costs for financial assistance in the program budget
by project category, to the extent practicable.

E. Additional Awards
EPA reserves the right to make additional awards under this opportunity, consistent with EPA
policy and guidance, if additional funding becomes available after the original selections are made.
Any additional selections for awards will be made no later than 6 months after the original selection
decisions.




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F. Funding Type
EPA anticipates awarding grants or cooperative agreements under this opportunity, depending on
whether EPA determines that substantial Federal involvement is necessary for effective oversight
of grantee performance or that EPA technical assistance will facilitate timely implementation of
the EPA approved scope of work. A cooperative agreement provides for substantial involvement
between the EPA Project Officer and a selected applicant in the performance of the work
supported. Although EPA would negotiate precise terms and conditions relating to substantial
federal involvement as part of the award process with each grantee awarded a cooperative
agreement, the anticipated substantial federal involvement may include:
    • Closely monitoring the grantee’s performance to verify the results proposed by the
       applicant;
    • Collaborating during performance of the scope of work;
    • Reviewing proposed procurement, in accordance with 2 CFR § 200.317 and 2 CFR §
       200.318;
    • Reviewing evidence of completion of project phases (e.g., planning) before providing
       approval for the grantee to begin work on the next project phase (e.g., implementation);
    • Reviewing the substantive terms of contracts, subawards, or other financial transactions
       (EPA will not select particular contractors, subrecipients, or program beneficiaries);
    • Approving qualifications of key personnel (EPA will not select employees or contractors
       employed by the grantee); and
    • Reviewing and commenting on reports prepared under the cooperative agreement (the final
       decision on the content of reports will rest with the grantee).

Further, EPA anticipates considering all awards made under this competition as capitalizations of
revolving loan funds for the purposes 2 CFR § 1500.8(d), regardless of the types of financial
assistance that grantees and their coalition partners (if any) propose in their applications. With this
characterization, the EPA Subaward Policy and its accompanying restrictions will not apply to
financial assistance provided with grant funds (including financial assistance provided by coalition
partners), although the EPA Subaward Policy will still apply to the subgrants provided by a grantee
to coalition partners (if any).




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Section III. Eligibility Information
Note: Additional provisions that apply to this section can be found at EPA Solicitation Clauses.

A. Eligible Applicants
Consistent with Section 134(c)(1) of the Clean Air Act, an applicant that is eligible to receive a
grant under the National Clean Investment Fund competition must be an “eligible recipient,” which
is an organization that: (a) is a nonprofit; (b) is designed to provide capital, leverage private capital,
and provide other forms of financial assistance for the rapid deployment of low- and zero-emission
products, technologies, and services; (c) does not take deposits other than deposits from
repayments and other revenue received from financial assistance provided using grant funds under
this program; (d) is funded by public or charitable contributions; and (e) invests in or finances
projects alone or in conjunction with other investors.

An applicant must meet this definition of eligible recipient at the time of application to be an
eligible applicant. The Cover Page, described in Section IV.C: Content of Application Submission,
must explain how an applicant meets the definition of eligible recipient and provide supporting
evidence (including organizational documents, such as articles of incorporation or similar
documents filed with a governmental authority as a condition of carrying out its activities; tax
filings; financial statements; investment records; and/or any other information the applicant deems
appropriate) for that explanation, showing that it:
     a. Meets the definition of Nonprofit organization set forth in 2 CFR § 200.1;8
     b. Has an organizational mission consistent with being “designed to provide capital, leverage
         private capital, and provide other forms of financial assistance for the rapid deployment of
         low- and zero-emission products, technologies, and services;”
     c. Does not receive any “deposit” (as defined in Section 3(l) of the Federal Deposit Insurance
         Act) or “member account” or “account” (as defined in Section 101 of the Federal Credit
         Union Act);
     d. Is funded by public or charitable contributions; and
     e. Has the legal authority to invest in or finance projects.

Further, to be an eligible recipient, an applicant must be incorporated in the United States and
cannot be controlled by one or several entities that are not eligible recipients, such as for-profit
commercial banks or asset managers. Control is defined by either (i) control in any manner over
the election of a majority of the directors, trustees, or general partners (or individuals exercising
similar functions) or (ii) the power to exercise, directly or indirectly, a controlling influence over
management policies or investment decisions, as determined by the EPA.9 A term and condition
specifying compliance with this requirement—and the other requirements of being an eligible
recipient—may be included in the grant agreement and in the closeout agreement to ensure that
grantees remain eligible recipients while they retain grant funds.

8
  2 CFR § 200.1 states that a Nonprofit organization is “any corporation, trust, association, cooperative, or other
organization, not including Institutes of Higher Education, that: (1) is operated primarily for scientific, educational,
service, charitable, or similar purposes in the public interest; (2) is not organized primarily for profit; and (3) uses net
proceeds to maintain, improve, or expand the operations of the organization.”
9
  EPA may use the indicia of control described in the 2 CFR § 180.905 definition of “Affiliate” as a basis for making
such determinations.


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An eligible recipient, as described above, may apply to this competition as either an individual
applicant or a “lead applicant” in a coalition.10 An applicant that submits an application to this
competition as an individual applicant or a lead applicant of a coalition may not submit an
additional application to this competition as an individual applicant or a lead applicant of a
coalition. However, an organization may participate in one or several coalition applications as a
non-lead coalition member, even if the organization has submitted an application as an individual
applicant or a lead applicant of a coalition. Note that EPA considers an organization and the entities
that it controls as the same organization for these purposes, with control defined as above.
    • Individual Application: An individual application is composed of an individual eligible
         recipient without any named subrecipients.
    • Coalition Application: A coalition application is composed of one lead applicant, which
         partners with one or more non-lead coalition members that are named in the application
         and that would receive subawards to carry out a portion of the grant’s activities if the
         application is selected. The lead applicant must be an eligible recipient and submit the
         application on its own behalf and on behalf of coalition members. The non-lead coalition
         member(s) may be eligible recipients or other types of organizations eligible for subawards
         under the EPA Subaward Policy. Coalition applications must include a signed
         Memorandum of Agreement that confirms participation of each coalition member.
         Once the lead applicant submits the application, the lead applicant as well as non-lead
         coalition members may not be substituted. If selected, the lead applicant must partner with
         the non-lead coalition members named in the application, unless approved by the EPA
         Award Official as explained in the EPA Subaward Policy Frequent Questions; additionally,
         if selected, as provided in 2 CFR § 200.332, the non-lead coalition members would become
         subrecipients that are accountable to the lead applicant for proper use of EPA funding.
         Refer to Section I.D: Competition Terminology for additional details on coalition
         applications.

B. Named Contractors and Named Subrecipients
Named Contractors. EPA does not require or encourage applicants to name procurement
contractors (including consultants) in applications for grant funding. However, if an applicant
chooses to identify a procurement contractor(s) to conduct work proposed in this application, the
applicant must comply with the following requirements, even if the entity is referred to as a
“partner” in the application. Contractors may not be coalition members.

An applicant that identifies a procurement contractor(s) in its application where the amount of the
contract will be more than the micro-purchase threshold in 2 CFR § 200.320(a)(1) ($10,000 for
most applicants) must demonstrate in their application how the contractor (including consultants)
was selected in compliance with the fair and open competition requirements in 2 CFR Parts 200
and 1500. EPA provides guidance on complying with the competition requirements in the Best
Practice Guide for Procuring Services, Supplies, and Equipment Under EPA Assistance

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  In either case, the grantee (either individual applicant or lead applicant) may make additional subawards to carry
out a portion of the grant’s activities, even if those subrecipients were not named in the application as a coalition
member, provided that they are consistent with the grant’s terms and conditions and with all applicable requirements,
including the EPA Subaward Policy. EPA provides additional guidance in the EPA Subaward Policy Frequent
Questions.


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Agreements. For example, EPA will not accept sole source justifications for proposed procurement
contracts for services that are available in the commercial marketplace, such as environmental or
financial consulting and information technology services. Applicants must describe the
procurement procedures that were followed to hire any contractor(s) named in the application and
include information on where and when the Request for Proposals/Request for Qualifications were
posted in the applicant’s Cover Page, as described in Section IV.C: Content of Application
Submission

Failure to demonstrate compliance with these requirements for named contractors in the
application will result in rejection of the application.

Successful applicants that do not name procurement contractor(s) in their applications must also
comply with these requirements, regardless of if the contractor(s) was procured before or after
the EPA grant agreement is awarded. For example, firms or individual consultants that develop
or draft specifications, requirements, statements of work, or invitations for bids or requests for
proposals must be excluded from competing for such procurements as provided in 2 CFR §
200.319(b). EPA provides additional guidance on complying with this requirement in the Best
Practice Guide for Procuring Services, Supplies, and Equipment Under EPA Assistance
Agreements.

Named Subrecipients. For this competition, EPA requires applicants that name subrecipients
in applications for grant funding to submit coalition applications and include the named
subrecipients as coalition members. If an applicant chooses to identify a subrecipient(s), the
applicant must not only submit a coalition application but also demonstrate that the named
subrecipient is eligible for a subaward in compliance with Appendix A of the EPA Subaward
Policy. This policy provides, among other things, that transactions between recipients and for-
profit firms and individual consultants are procurement contracts rather than subawards when the
transaction involves the acquisition of services from the firm or individual, including services
necessary to develop and manage the proposed program on behalf of the applicant (and/or on
behalf of any non-lead coalition members). Note that grantees may make additional subawards to
carry out a portion of the grant’s activities, even if those subrecipients were not named in the
application as a coalition member, provided that they are consistent with the grant’s terms and
conditions and with all applicable requirements, including the EPA Subaward Policy. EPA
provides additional guidance in the EPA Subaward Policy Frequent Questions.

Failure to demonstrate compliance with these requirements for named subrecipients in the
application will result in rejection of the application.

Refer to Section IV.d, “Contracts and Subawards,” of EPA Solicitation Clauses for additional
guidance on these requirements, which must be met for all contractors (except for micro-
purchases) and/or subrecipients specifically named in the application. EPA staff may contact the
applicant to clarify issues or obtain additional information before making a final determination of
non-compliance and rejection of the application.




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C. Threshold Eligibility Criteria
All applications will be reviewed for eligibility and must meet the threshold eligibility criteria.
Applications that do not meet all of the threshold eligibility criteria will be deemed ineligible
for funding consideration and will not be considered further; as a result, applicants are
strongly encouraged to ensure that their applications meet all of the threshold eligibility
criteria prior to submitting their applications. If necessary, EPA may contact applicants to
clarify threshold eligibility questions prior to making an eligibility determination. Applications
deemed ineligible for funding consideration as a result of the threshold eligibility review will be
notified within 15 calendar days of the ineligibility determination.

Applications must meet the following threshold criteria to be considered eligible:
   1. Applications must comply with the content and submission requirements, as listed below.
           a. Applications must substantially comply with the application submission
               instructions and requirements set forth in Section IV. Application and Submission
               Information or else they will be rejected. However, where a page limit is expressed
               in Section IV with respect to the application, or parts thereof, pages in excess of the
               page limitation will not be reviewed. Applicants are advised that readability is of
               paramount importance and should take precedence in application format.
           b. In addition, applications must be submitted through Grants.gov as stated in Section
               IV. Application and Submission Information (except in the limited circumstances
               where another mode of submission is specifically allowed for as explained in
               Section IV) on or before the application submission deadline published in Section
               IV. Applicants are responsible for following the submission instructions in Section
               IV of this funding opportunity to ensure that their application is timely submitted.
               Please note that applicants experiencing technical issues with submitting through
               Grants.gov should follow the instructions provided in Section IV, which include
               both the requirement to contact Grants.gov and email a full application to EPA prior
               to the deadline.
           c. Applications submitted outside of Grants.gov will be deemed ineligible without
               further consideration unless the applicant can clearly demonstrate that it was due to
               EPA mishandling or technical problems associated with Grants.gov or SAM.gov.
               An applicant’s failure to timely submit their application through Grants.gov
               because they did not timely or properly register in SAM.gov or Grants.gov will not
               be considered an acceptable reason to consider a submission outside of Grants.gov.
   2. Applications must explain and provide supporting evidence for how the applicant (either
       the individual applicant or the lead applicant in a coalition application) is an eligible
       recipient, as described in Section III.A: Eligible Applicants. This includes explaining and
       providing supporting evidence for being incorporated in the United States and not being
       controlled by one or several entities that are not eligible recipients.
   3. Applications must comply with the requirements for named contractors and named
       subrecipients, as described in Section III.B: Named Contractors and Named Subrecipients.
       EPA does not require or encourage applicants to name procurement contractors (including
       consultants) or subrecipients in applications for grant funding. However, if an applicant
       chooses to identify a procurement contractor(s) to conduct work proposed in this
       application or subrecipient(s) to be coalition members, the applicant must demonstrate
       compliance with the requirements. For this competition, EPA requires applicants that


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          name subrecipients to submit coalition applications and include the named
          subrecipients as coalition members; all named subrecipients must be coalition
          members.
     4.   Applications must demonstrate that they will expend the requested funding amount over a
          period of performance of up to 7 years. Note that grantees will retain program income to
          be used after the period of performance pursuant to the terms of a closeout agreement as
          provided in 2 CFR § 1500.8(d) and supplemented by the terms and conditions of the award,
          discussed in Section VI.C: Program Income Requirements. EPA intends to close out the
          grant and negotiate a closeout agreement prior to the end of the period of performance
          when the grantee has expended and disbursed all of the EPA funding.
     5.   Applications must include a program plan that provides financial assistance to qualified
          projects at the national, regional, State, and local levels; prioritizes investment in qualified
          projects that would otherwise lack access to financing; and retains, manages, recycles, and
          monetizes all repayments and other revenue received from fees, interest, repaid loans, and
          all other types of financial assistance provided using grant funds to ensure continued
          operability. Applications that do not propose providing financial assistance to qualified
          projects in each of the ten EPA regions will not be considered as “national” and therefore
          will not be considered as eligible.11
     6.   Applications must include a program budget that allocates at least 40% of grant funds for
          the purposes of providing financial assistance in low-income and disadvantaged
          communities. Expenditures for these purposes include costs for financial assistance as well
          as other costs that are reasonable and necessary for the deployment of such financial
          assistance, including costs for predevelopment activities, market-building activities, and
          program administration activities. Appendix C: Guidance for Low-Income and
          Disadvantaged Community Expenditures provides guidance for assessing expenditures
          against this requirement.
     7.   Applications must not include unallowable costs, as described in Section III.D: Allowable
          and Unallowable Costs. If an application is submitted that includes any unallowable costs,
          including but not limited to those described in Section III.D, that portion of the application
          will be ineligible for funding and may, depending on the extent to which it affects the
          application, render the entire application ineligible for funding.
     8.   Applications must be submitted by an individual applicant or a lead applicant of a coalition
          that has not already submitted an application to this competition as an individual applicant
          or a lead applicant of a coalition. Applicants submitting more than one application will be
          contacted to determine which application EPA will evaluate, with the remaining
          application(s) deemed ineligible. While eligible applicants are welcome to submit
          applications for each of the three GGRF competitions, they may submit only one
          application for each competition as either an individual applicant or a lead applicant of a
          coalition application.


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  The ten regions are: EPA Region 1 (CT, ME, MA, NH, RI, VT, and 10 Indian Tribes); EPA Region 2 (NJ, NY, PR,
VI, and 8 Indian Nations); EPA Region 3 (DE, DC, MD, PA, VA, WV, and 7 Indian Tribes); EPA Region 4 (AL, FL,
GA, KY, MS, NC, SC, TN, and 6 Indian Tribes); EPA Region 5 (IL, IN, MI, MN, OH, WI, and 35 Indian Tribes);
EPA Region 6 (AR, LA, NM, OK, TX, and 66 Indian Tribes); EPA Region 7 (IA, KS, NE, MO, and 9 Indian Tribes);
EPA Region 8 (CO, MT, ND, SD, UT, WY, and 28 Indian Tribes); EPA Region 9 (AZ, CA, HI, NV, American Samoa,
Commonwealth of the Northern Mariana Islands, Federated States of Micronesia, Guam, Marshall Islands, Republic
of Palau, and 148 Indian Tribes); and EPA Region 10 (AK, ID, OR, WA, and 271 Indian Tribes).


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   9. Coalitions: Coalition applications must include a signed Memorandum of Agreement that
      confirms participation of each coalition member.

D. Allowable and Unallowable Costs
Allowable Costs: The following are allowable costs for this competition:
   • Costs for financial assistance to qualified projects, as defined in Section I.D: Competition
      Terminology

       Note: Some financial assistance will be characterized as acquisitions of intangible
       property. For this financial assistance, pursuant to 2 CFR § 200.316, EPA will require that
       grantees record liens or other appropriate notices of record to indicate that the intangible
       property has been acquired with Federal funding and that use and disposition conditions
       apply to the intangible property. As provided in 2 CFR § 200.1: “…loans, notes and other
       debt instruments, lease agreements, stock and other instruments of property ownership
       (whether the property is tangible or intangible)” are Intangible property for the purposes
       of the restrictions described at 2 CFR § 200.315(a).

   •   Costs for predevelopment activities, as defined in Section I.D: Competition Terminology
   •   Costs for market-building activities, as defined in Section I.D: Competition Terminology
   •   Costs for program administration activities, as defined in Section I.D: Competition
       Terminology, including costs for advisory councils (defined as groups of individuals who
       are not employees of a grantee but that provide strategic and policy advice to meet program
       objectives) and costs for fund raising (defined as costs for financial campaigns, endowment
       drives, solicitation of gifts and bequests, and similar expenses incurred to raise capital or
       obtain contributions)

All costs must meet the requirements for allowability under 2 CFR Part 200, Subpart E as well as
applicable provisions of 2 CFR Part 1500. EPA’s Guidance on Selected Items of Cost for
Recipients provides additional details on the allowability of costs for advisory councils and fund
raising to meet program objectives for this competition.

Note: Costs for financial assistance and other activities for the purposes of acquiring or improving
real property, including related equipment purchases, are allowable with the prior approval of
the EPA Award Official. As provided in 2 CFR § 200.316, EPA will require that grantees
“…record liens or other appropriate notices of record to indicate that personal or real property
has been acquired or improved with a Federal award and that use and disposition conditions,
described in 2 CFR § 200.311 and 2 CFR § 200.313, apply to the property.”

Unallowable Costs: The following are unallowable costs for this competition:
  • Costs for subgrants to qualified projects
  • Costs to support projects, activities, or technologies that fail to meet any of the six
      eligibility requirements for qualified projects

       Note: All projects, activities, or technologies supported by this competition must meet all
       six eligibility requirements for qualified projects—and those that fail any of those six
       eligibility requirements are not eligible for support under this competition. For example,


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       costs to support projects, activities, or technologies that do not both reduce or avoid
       emissions of greenhouse gases as well as reduce or avoid emissions of other air
       pollutants are not “qualified projects” and therefore are not eligible for support under
       this competition. Appendix B: Qualified Project Checklist provides an illustrative checklist
       of the requirements for qualified projects.

   •   Costs to support projects, activities, or technologies that constitute Research and
       Development, as defined in 2 CFR § 200.1
   •   Costs to support projects, activities, or technologies that will be deployed outside the
       boundaries of the ten EPA regions
   •   Costs for first-tier subgrantees to provide subgrants to second-tier subgrantees for those
       subgrantees to provide financial assistance to qualified projects (however, first-tier
       subgrantees may still provide subgrants to second-tier subgrantees for predevelopment,
       market-building, and program administration activities to the extent permitted in Appendix
       A of the EPA Subaward Policy)
   •   Costs for supporting or opposing union organizing, whether directly or as an offset for
       other funds
   •   Costs that are unallowable under 2 CFR Part 200, Subpart E and under applicable
       provisions of 2 CFR Part 1500

If an application is submitted that includes unallowable costs, that portion of the application will
be ineligible for funding and may, depending on the extent to which it affects the application,
render the entire application ineligible for funding.




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Section IV. Application and Submission Information
A. Due Date and Submission Instructions
An application package may be obtained by visiting this funding opportunity (EPA-R-HQ-NCIF-
23) on Grants.gov. Applicants will be prompted to initiate the application process by generating a
Workspace for this opportunity.

Your organization’s Authorized Organization Representative (AOR) must submit your complete
application package12 electronically to EPA through Grants.gov. Application packages must be
submitted on or before October 12, 2023 at 11:59 PM (Eastern Time) through Grants.gov.
Applications received after the closing date and time will not be considered for funding.
Applications submitted outside of Grants.gov will be deemed ineligible without further
consideration unless the applicant can clearly demonstrate that it was due to EPA mishandling or
technical problems associated with Grants.gov or SAM.gov. Please allow enough time to
successfully submit your application package and allow for unexpected errors that may require
you to resubmit. Occasionally, technical and other issues arise when using Grants.gov.

Refer to Appendix A: Grants.gov Application Submission Instructions for the requirements to
apply through Grants.gov. In order to submit an application through Grants.gov, your
organization must:
   • Have an active System for Award Management (SAM) account in SAM.gov and a Unique
       Entity Identifier (UEI) assigned by SAM.gov;
   • Be registered in Grants.gov; and
   • Have the E-Business Point of Contact designate an AOR in Grants.gov.

The registration process for all the above items may take a month or more to complete.
Applicants should begin this process as soon as possible.

In concert with EPA’s commitment to conducting business in an open and transparent manner,
copies of applications selected under this funding opportunity may be made publicly available on
the GGRF website or another public website for a period of time after the selected applications are
announced. EPA recommends that applications not include trade secrets or commercial or financial
information that is confidential, privileged, or sensitive and that, if disclosed, would invade another
individual’s personal privacy (e.g., personal email addresses, etc.). However, if such information
is included, it will be treated in accordance with 40 CFR § 2.203 (refer to Section IV.a of EPA
Solicitation Clauses for additional information). However, if you do include such information,
clearly indicate which portion(s) of the application you are claiming contains confidential,
privileged, or sensitive information. As provided at 40 CFR § 2.203(b), if no claim of confidential
treatment accompanies the information when it is received by EPA, it may be made available to
the public by EPA without further notice to the applicant.




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  For this competition, the “application package” includes the required federal forms available at Grants.gov as well
as the Project Narrative, Project Narrative Attachments, and Other Attachments.


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B. Application Materials
The following forms and documents are included in the Workspace you generate on Grants.gov.
Note that there are two sets of attachments included as part of these forms and documents. Project
Narrative Attachments are required to meet the threshold eligibility criteria and/or to receive full
points for the respective evaluation criteria. Other Attachments are optional (although encouraged)
and may provide additional information that the application can reference in the 70-page Narrative
Proposal and, as a result, may factor into the assessment against the evaluation criteria.

Mandatory Documents:
  1. Application for Federal Assistance (SF-424)
  2. Budget Information for Non-Construction Programs (SF-424A)
  3. EPA Key Contacts Form 5700-54
  4. EPA Form 4700-4 Preaward Compliance Review Report
  5. Grants.gov Lobbying Form
  6. Project Narrative: Use the “Project Narrative Attachment Form” in your Workspace on
     Grants.gov to submit your Project Narrative, prepared as described in Section IV.C:
     Contents of Application Submission. Please submit one file (consisting of the Cover Page
     and Narrative Proposal) using a file name corresponding to the bullet below,
     replacing Applicant_Name with the name of your organization.
         • Project Narrative - Applicant_Name
  7. Project Narrative Attachments: Use the “Project Narrative Attachment Form” in your
     Workspace on Grants.gov to submit the attachments listed below, which are mandatory
     and do not count toward the page limits for the Project Narrative. Please submit separate
     files using file names corresponding to the bullets below, replacing Applicant_Name
     with the name of your organization. Please submit the files in the order presented
     below.
         • Supporting Documents for Applicant Eligibility - Applicant_Name
         • Supporting Documents for Coalition Member Subaward Eligibility -
             Applicant_Name (Coalitions Only)
         • Coalition Memorandum of Agreement - Applicant_Name (Coalitions Only)
         • 1.4.2 Budget Table - Applicant_Name
         • 2.1.1 Legal Entity Structure Diagram - Applicant_Name
         • 2.1.2 Organizational and Governing Documents - Applicant_Name
         • 2.2.1 Resumes of Board Members - Applicant_Name
         • 2.2.2 Organizational Chart - Applicant_Name
         • 2.2.2 Resumes of Senior Management - Applicant_Name
         • 2.4.1 Legal and Compliance Risk Management Policies and Procedures -
             Applicant_Name
         • 2.4.2 Financial Risk Management Policies and Procedures - Applicant_Name
         • 2.5.1 Financial Statements - Applicant_Name
         • 2.5.2 Financial Projections - Applicant_Name

Optional Documents:
  8. Other Attachments: Use the “Other Attachments Form” in your Workspace on Grants.gov
      to submit the attachments listed below, which are optional (although encouraged) and do
      not count toward the page limits for the Project Narrative. Please submit separate files


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        using file names corresponding to the bullets below, replacing Applicant_Name with
        the name of your organization. Please submit the files in the order presented below.
            • 1.2.1 Community Engagement and Accountability Letters of Support -
               Applicant_Name
            • 1.2.4.2 Current Transaction Pipeline Letters of Commitment - Applicant_Name
            • 1.2.4.3 Transaction Partnerships Letters of Commitment - Applicant_Name
            • 1.2.5.3 Labor and Equitable Workforce Letters of Commitment - Applicant_Name
            • 2.2.1 Board Policies and Procedures - Applicant_Name
            • 2.2.2 Management Policies and Procedures - Applicant_Name
            • 2.3.1 Consumer Protection Policies and Procedures - Applicant_Name
            • 2.3.2 Equity Policies and Practices - Applicant_Name
     9. Disclosure of Lobbying Activities (SF-LLL)13

C. Content of Application Submission
The forms and documents required as part of the application submission are described in Section
IV.B: Application Materials. Below are the instructions for the Project Narrative, which is
composed of the Cover Page (a maximum of two pages) and the Narrative Proposal (a maximum
of 70 pages). The Project Narrative must follow the requirements listed below.
    • Must not exceed the above-mentioned page limits. Applicants are encouraged to be
       concise and do not need to use all pages within the page limits.
    • Must only rely on the text in the above-mentioned page limits as well as the required
       attachments. While optional attachments do not count toward the above-mentioned
       page limits, they may serve only as reference documents for content described in the
       Project Narrative; optional attachments that provide new content, rather than serve as
       reference documents, will not be reviewed or considered. Links to external websites or
       content will not be reviewed or considered.
    • Must be 8 1/2 x 11” typed, single-spaced pages in 12-point Times New Roman font with
       one column per page, without indenting paragraphs, and with one-inch page margins.

The Cover Page (maximum of two pages) must include:
1.      Program Title. Provide a title for your proposed program.
2.      Applicant Name. Identify the name of your organization.
3.      Applicant Eligibility. Explain how your organization meets the definition of an eligible
        recipient, including being incorporated in the United States and not being controlled
        by a non-eligible recipient. Attach documents that provide supporting evidence for your
        explanation. As discussed in Section III.A: Eligible Applicants, supporting evidence may
        include organizational documents, such as articles of incorporation or similar documents
        filed with a governmental authority; tax filings; financial statements; investment records;
        certifications of independence; and/or other information.
4.      Program Summary. Describe the proposed program in no more than ten sentences.


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  Applicants may be required to complete this form if instructed to do so through the Grants.gov Lobbying Form. See
the Grants.gov Lobbying Form to determine applicability.


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5.     EPA Funding Requested. Specify the amount you are requesting from the EPA.
6.     Period of Performance. Provide estimated beginning and ending dates for your period of
       performance. There will be criteria in the grant’s terms and conditions for ending the period
       of performance following deployment of the initial EPA funding. Note that, if selected,
       you will be required to retain and reuse program income for additional capital deployment,
       as described in Section VI.C: Program Income Requirements.
7.     Contact Information. Include the name, title, email address, and phone number for a
       primary and/or an administrative contact.
8.     Coalition Members. Include the names and proposed subaward amounts of all non-lead
       coalition members that are part of this application, if applying as a coalition. For each
       organization, explain how that organization is eligible for a subaward under the EPA
       Subaward Policy and include the contact information listed above for each organization.
       Attach documents that provide supporting evidence for your explanation(s) as well as a
       signed Memorandum of Agreement for your coalition.
9.     Named Contractors. Include all named contractors that are part of this application. For
       each named contractor, describe the procurement procedures that were followed to hire the
       contractor(s) and include information on where and when the Request for
       Proposals/Request for Qualifications was posted. If there are no named contractors as part
       of this application, please write “not applicable.”

The Narrative Proposal (a maximum of 70 pages) must include the components listed in this
section, which should address the evaluation criteria in Section V.A: Evaluation Criteria. A table
is included in Section V.A: Evaluation Criteria to show how the components relate to one another
and to the evaluation criteria.

1.     Program Plan: Describe how you will use grant funds to advance the GGRF program
       objectives over the period of performance—and how that use of grant funds will lay the
       foundation for you to reuse grant funds to advance the GGRF program objectives beyond
       the period of performance. The program plan consists of the program vision (1.1);
       investment strategy (1.2); program reporting (1.3); and program budget (1.4).
       Note: The program plan must support deployment of qualified projects (rather than other
       projects), which requires projects to meet six distinct requirements (including but not
       limited to reducing/avoiding emissions of greenhouse gases and other air pollutants).
       Appendix B: Qualified Project Checklist provides an illustrative checklist of the
       requirements for qualified projects.
1.1    Program Vision: Describe your vision to build a program that deploys grant funds to
       achieve the GGRF program objectives during and after the period of performance, aligning
       with the climate goals in the U.S. Nationally Determined Contribution and Executive Order
       14037 while also achieving the priorities embedded in Executive Order 14005, Executive
       Order 14008, Executive Order 14082, Executive Order 14096, the Interagency Working
       Group on Coal and Power Plant Communities, and the Justice40 Initiative. In your program
       vision, describe the barriers to achieving these goals and priorities in the United States; the
       financing solutions required to address these barriers; and the role of your program, in
       coordination with and accounting for the other programs funded by the GGRF across all


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       three competitions, in addressing these barriers. In your vision, describe how your program
       will provide financing that makes a unique contribution to overcoming these barriers,
       including how your program will complement (rather than duplicate) and expand upon the
       successful efforts of federal, state, and local governments (including existing financing
       programs and financial incentives); Tribal governments; nonprofit organizations; private
       capital providers; community lenders and other similar institutions; and others.
1.2    Investment Strategy: Describe your approach, in detail, to operationalizing the program
       vision over the entire period of performance, with additional granularity over the first three
       years.
1.2.1 Community Engagement and Accountability Strategy: Describe your strategy for
      engaging communities in implementing the program and maintaining accountability to the
      priorities identified by those communities, including geographically diverse communities
      (including rural communities); Tribal communities (and their representatives from Tribal
      governments); and low-income and disadvantaged communities (including those that are
      communities with environmental justice concerns, energy communities, and persistent
      poverty counties). You may attach any signed letters of support from applicable community
      representatives and organizations.
1.2.1.1 Community Engagement Plan: Describe your plan to engage those communities, as well
        as other communities, in a manner that is comprehensive, frequent, accessible (e.g., to
        persons with limited English proficiency and persons with disabilities), and tailored to their
        priorities. Also describe any engagement activities that you have completed for the
        purposes of developing your application, as well as how those engagement activities have
        shaped your application.
1.2.1.2 Community Accountability Plan: Describe your plan to maintain accountability to those
        communities, as well as other communities, in the program. Discuss transparency
        mechanisms as well as participatory governance structures and other tools/commitments,
        such as independent advisory committees and community benefits agreements, that you
        will implement in the program.
1.2.2 Investment Objectives: Identify the goals and targets of your investment strategy. Goals
      and targets should align with the GGRF program objectives and the corresponding
      environmental outputs and outcomes (as described in Section I.G: Measuring
      Environmental Results) and with EPA’s strategic plan (as described in Section I.F:
      Environmental Results and Strategic Plan Information). If your goals and targets are
      evaluated and influence the selection decision, then you are expected to achieve them
      during the period of performance.
1.2.2.1 Climate and Air Pollution Benefits: Identify your program’s goals and targets for
        delivering climate and air pollution benefits, including but not limited to accelerating
        progress toward the climate goals of the United States to reduce greenhouse gas emissions
        50-52 percent below 2005 levels in 2030, reach 50 percent zero-emission vehicles share of
        all new passenger cars and light trucks sold in 2030, achieve a carbon pollution-free
        electricity sector by 2035, and achieve net-zero emissions by no later than 2050.
1.2.2.2 Equity and Community Benefits: Identify your program’s goals and targets for
        delivering equity and community benefits, including which types of benefits you will



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       deliver and who will receive those benefits. Discuss in particular your goals and targets for
       benefits that will accrue to geographically diverse communities (including rural
       communities); Tribal communities; and low-income and disadvantaged communities
       (including those that are communities with environmental justice concerns, energy
       communities, and persistent poverty counties).
1.2.2.3 Market Transformation Benefits: Identify your program’s goals and targets for
        delivering market transformation benefits. In particular, describe your program’s goals and
        targets for mobilizing private capital.
1.2.3 Portfolio Allocation: Describe the project categories you expect to be deployed as a result
      of your program, the market segments you expect to deploy those projects, and the
      geographies in which you expect those projects to be deployed to achieve the investment
      objectives. Include a projected portfolio allocation across project categories, market
      segments, and geographies.
1.2.3.1 Project Categories: Describe the project categories (e.g., sectors, technologies, etc.) you
        expect to be deployed, and explain how deploying those projects effectively supports your
        investment objectives. Include a projected portfolio allocation across project categories.
        Note that any project that meets the requirements of a qualified project is eligible for
        support under this competition.
1.2.3.1 Market Segments: Describe the market segments (e.g., consumer vs. commercial, small
        business, affordable housing developers) you expect to deploy those projects, and explain
        how serving those market segments effectively supports your investment objectives.
        Include market segments that currently lack and/or have historically lacked capital access,
        such as small businesses, low-income and disadvantaged community-led businesses,
        Native American-owned businesses, women-owned businesses, community/locally-owned
        businesses, and other underrepresented businesses. Include a projected portfolio allocation
        across market segments.
1.2.3.3 Geographies: Describe the geographies where you expect projects to be deployed, and
        explain how serving those geographies effectively supports your investment objectives as
        well as provides financial assistance at the national level. Include geographically diverse
        communities (including rural communities); Tribal lands; and low-income and
        disadvantaged communities (including those that are communities with environmental
        justice concerns, energy communities, and persistent poverty counties). Include a projected
        portfolio allocation across geographies (and use that allocation to demonstrate national
        coverage).
1.2.4 Financial Products and Transactions: Describe how you will operationalize the portfolio
      allocation through financial products and financial transactions.
1.2.4.1 Financial Products: Describe the financial products (e.g., small business loans, credit
        enhancements, green mortgages, etc.) that you plan to offer and how those financial
        products will help you achieve the portfolio allocation. Provide specific details on the
        financial products (e.g., interest rates, tenor, structure, amortization, and prepayment
        terms) and how those details are tailored to achieve the portfolio allocation, such as
        incentivizing projects based on their climate and air pollution benefits and/or equity and
        community benefits (e.g., using measures such as the Social Cost of Greenhouse Gases) as



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       well as improving affordability for certain types of counterparties (e.g., low-income and
       disadvantaged communities). Where relevant, include any financing vehicles and
       structures you will use to deliver these financial products. Include a projected allocation of
       grant funds across financial products.
1.2.4.2 Current Transaction Pipeline: Describe your current transaction pipeline, defined as
        transactions that you intend to originate over the first 6 months after receiving the grant
        award. Explain how this transaction pipeline aligns with your portfolio allocation. You
        may attach any signed letters from potential counterparties on these transactions, including
        details on the financial assistance that will be provided and descriptions of the underlying
        projects.
1.2.4.3 Transaction Partnerships Plan: Describe your plan to use partnerships to build and
        execute on a robust, national transaction pipeline. Include existing and/or planned
        partnerships to deploy financial assistance to qualified projects by working with
        intermediating institutions, including community lenders and other similar institutions;
        non-profit organizations; for-profit businesses; private capital providers; and others. If
        applying as a coalition, include partnerships as reflected in your coalition. You may attach
        any letters of commitment that reflect these partnerships.
1.2.5 Market Development Plan: Describe how you will support the development of a more
      supportive market for providing financial assistance to qualified projects.
1.2.5.1 Predevelopment Plan: Describe your plan to undertake and/or support predevelopment
        activities to build a pipeline of qualified projects you intend to finance, especially in low-
        income and disadvantaged communities.
1.2.5.2 Market-Building Plan: Describe your plan to generate market-wide demand for qualified
        projects, especially in low-income and disadvantaged communities, such as through
        customer education and engagement, community outreach, contractor engagement,
        workforce development, and other non-financial market-building activities that are not
        directly tied to projects you intend to finance. Also describe your plan to build a more
        supportive financial market for providing financial products to qualified projects,
        especially in low-income and disadvantaged communities, such as through standardization
        of documentation, development of financial products, and other financial market-building
        activities that are not directly tied to projects you finance.
1.2.5.3 Labor and Equitable Workforce Development Plan: Describe your plan to ensure that
        projects that are ultimately financed as a result of your program generate high-quality jobs
        with a diverse, skilled workforce, in alignment with the U.S. Department of Labor and U.S.
        Department of Commerce’s eight Good Jobs Principles and Executive Order 14082,
        including but not limited to ensuring all workers are paid a stable and predictable living
        wage, paying prevailing wages or above (where applicable), offering family-sustaining
        benefits, respecting workers’ right to freely and fairly join a union and collectively bargain,
        and creating safe and healthy working conditions; ensuring projects benefit local workers
        and communities (including through tools such as community benefits agreements,
        community workforce agreements, project labor agreements, and provision of supportive
        services like childcare and transportation assistance for individuals with barriers to
        employment); promoting stable employment and evaluating and monitoring
        subcontractors, including temporary staffing agencies; recruiting diverse workers


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       (especially from low-income and disadvantaged communities); incorporating high-quality
       and equitable workforce training (such as leveraging registered apprenticeship programs,
       as described in 29 CFR Parts 29 and 30, and pre-apprenticeship programs connected to
       registered apprenticeship programs as well as employing displaced energy workers); and
       developing formal partnerships with labor organizations, including unions and other
       workers’ rights groups. Also describe your plan to comply with the requirements of the
       Build America, Buy America Act and Davis-Bacon and Related Acts. Refer to Section
       VI.D: Administrative and National Policy Requirements for additional details. You may
       attach any signed letters of commitment from applicable labor organizations that you plan
       to partner with.
       Note: EPA encourages project labor agreements (i.e., pre-hire collective bargaining
       agreements between unions and contractors that govern terms and conditions of
       employment for all workers on a construction project); the use of an appropriately trained
       workforce (i.e., through registered apprenticeships and other joint labor-management
       training programs that serve all workers, particularly those from underserved
       communities); the use of an appropriately credentialed workforce (i.e., requirements for
       appropriate and relevant professional training, certification, and licensure); the use of
       supportive services for those who need them, such as childcare and transportation, to
       recruit and retain workers on federally funded projects, as expressed in Executive Order
       14095 (Increasing Access to High-Quality Care and Supporting Caregivers); and neutrality
       with respect to union organizing and operations (i.e., grant funds cannot support or oppose
       union organizing). Note that Executive Order 14063 (Use of Project Labor Agreements for
       Federal Construction Projects) mandates the use of project labor agreements on large-
       scale construction projects where the cost to the federal government is $35 million or more.
1.2.5.4 Coordination Plan: Describe your plan to leverage existing resources from federal, Tribal,
        state, territorial, and local governments as well as non-governmental organizations,
        including financial assistance resources (such as tax credits and subsidies) and technical
        assistance resources (such as programs run by the EPA Regional Offices in the regions in
        which you intend to do business), to maximize effectiveness at achieving your investment
        objectives. Also describe your plan to coordinate with other GGRF grantees across the
        National Clean Investment Fund, Clean Communities Investment Accelerator, and Solar
        for All programs to maximize collective effectiveness at achieving the GGRF program
        objectives.
1.2.6 Investment Policies: Describe the investment policies that will govern your investments,
      such as transaction-level screening and decision-making policies as well as portfolio-level
      diversification and governance policies. In particular, include investment policies to align
      with the requirement that at least 40% of grant funds be used for the purposes of providing
      financial assistance in low-income and disadvantaged communities—and to ensure that
      this financial assistance also delivers benefits to low-income and disadvantaged
      communities.
1.3    Program Reporting: Describe your plan for program reporting in alignment with the
       grant’s reporting requirements, as described in Section VI.E: Reporting Requirements.
1.3.1 Reporting Plan: Describe the environmental outputs and outcomes you plan to track and
      report as well as the methodologies, inputs, and assumptions you plan to use for tracking


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       and reporting those outputs and outcomes. You may reference Section I.G: Measuring
       Environmental Results for example outputs and outcomes. You may reference the Tools
       and Technical Resources provided by the EPA in connection with the Climate Pollution
       Reduction Grants for example tools and technical resources.
       Note: After selection, EPA may update the terms and conditions to further define outputs
       and outcomes as well as provide guidance on methodologies, inputs, and assumptions for
       tracking and reporting outputs and outcomes, including but not limited to reduction and
       avoidance of greenhouse gas emissions and other air pollutants. For example, for climate
       and air pollution benefits-related outcomes on distributed generation and storage projects,
       such disclosure may include project-level data (e.g., MW capacity installed), key
       assumptions to translate project-level data into outcomes (e.g., capacity factors, emissions
       intensity of displaced power generation, global warming potential of greenhouse gases,
       asset useful life, etc.), and relevant sources (e.g., EPA, National Renewable Energy
       Laboratory, peer-reviewed studies) for estimates compared to a no-action baseline and to
       other reasonable alternatives. Grantees will be expected to disclose, on an ongoing basis,
       the methodologies, inputs, and assumptions used to track and report outputs and outcomes
       as a component of quarterly performance reports. EPA may require outputs and outcomes
       reporting to be subject to third-party validation, verification, and/or assurance under the
       terms and conditions of the award.
1.3.2 Reporting Capacity: Describe your plan to ensure the organizational capacity to execute
      against the grant’s reporting requirements, including program performance as well as
      financial and administrative reporting requirements. Include the resources you plan to
      leverage (including personnel as well as data and technology); the policies and procedures
      you plan to establish to ensure reliable reporting; and third-party validation, verification,
      and assurance plans. If you intend to obtain external contractors (including consultants) for
      the provision of such services, you must comply with the competitive procurement
      requirements in 2 CFR Parts 200 and 1500 as well as EPA’s 40 CFR Part 33 Disadvantaged
      Business Enterprise participation rule; additional guidance is available in the Best Practice
      Guide for Procuring Services, Supplies, and Equipment Under EPA Assistance
      Agreements.
       Note: Each applicant should integrate its capacity to conduct program evaluation
       activities into its description of reporting capacity, including but not limited to conducting
       evaluation to assess effectiveness and efficiency in achieving outputs and outcomes.
       Evaluations should be conducted in adherence with EPA Order 1000.33, U.S. EPA Policy
       for Evaluations and Other Evidence-Building Activities, including timely publication of
       findings. EPA Order 1000.33 provides a framework to comply with the Foundations for
       Evidence-Based Policymaking Act of 2018.
1.3.3 Past Performance and Reporting History: Submit a list of federally and non-federally
      funded assistance agreements (assistance agreements include grants and cooperative
      agreements but not contracts) that your organization performed within the last five years.
      Describe your past performance in successfully completing and managing those assistance
      agreements. Also describe your history of meeting the reporting requirements under those
      assistance agreements, including your submitted acceptable final technical reports under
      those agreements and the extent to which you adequately and timely reported on your



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       progress towards achieving the expected outputs and outcomes under those agreements
       and, if such progress was not being made, whether you adequately reported why not.
1.4    Program Budget: Provide details on the budget found in SF-424A, which includes the full
       EPA funding request to be expended over the period of performance. Given that the
       period of performance is anticipated to begin by July 2024, the budget should reflect
       activities from July 2024 through the end of the period of performance, with annual
       figures provided for July through June of each year.
1.4.1 Expenditure and Disbursement of Awarded Funds: Describe your approach,
      procedures, and controls for ensuring that the grant award will be expended and disbursed
      in a timely and efficient manner.
1.4.2 Budget Description and Table: Provide a description of the budget, and attach the
      detailed budget table. In the description, explain how the budget is reasonable to
      accomplish the program plan, including maximizing the share of funds used for financial
      assistance (both the direct costs of funds passed through for financial assistance as well as
      associated indirect costs). In the description, also explain how the budget expends at least
      40% of funds for the purposes of providing financial assistance in low-income and
      disadvantaged communities, as described in Section I.D: Competition Terminology. In the
      budget table, break up funding type into the proper budget categories, and break out costs
      for financial assistance separately from other costs. Please see Appendix D: Program
      Budget for additional guidance on the budget table.
       Note: A template for the budget table is available for download under the related
       documents within this grant opportunity (EPA-R-HQ-NCIF-23) on Grants.gov. Applicants
       that do not use the template will not be penalized.
2.     Organizational Plan: Describe your plan to ensure the organizational capacity necessary
       to carry out the program plan over the entire period of performance, with additional
       granularity over the first three years. If applying as a coalition, describe the lead
       applicant’s plan to ensure the organizational capacity to carry out the program plan,
       which should include but not be limited to managing and overseeing subawards to
       coalition members. The organizational plan consists of organizational background and
       track record (2.1); governance and management (2.2); equitable policies (2.3); risk
       management (2.4); and financials (2.5).
2.1    Organizational Background and Track Record: Provide information on your
       organization, including background information as well as relevant information about your
       organization’s track record for the purposes of demonstrating the organizational capacity
       necessary to carry out the program plan alongside other business activities.
2.1.1 Description of Business: Describe your organization’s planned business activities; the
      corporate or other structure of the legal entities that comprise the business; jurisdictions in
      which you and affiliated legal entities are qualified to do business, own or lease real
      property, or maintain an office; and activities carried out in each such jurisdiction. Explain
      how this business description will support the program plan alongside other business
      activities. Attach the legal entity diagram structure.
2.1.2 Organizational and Governing Documents: Describe your organizational and governing
      documents (include articles of incorporation, formation, or partnership; by-laws; and


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       operating agreements) and the extent to which they align with the GGRF program
       objectives. Attach the relevant organizational and governing documents.
2.1.2 Organizational Experience: Describe your organizational experience to execute the
      activities discussed in the program plan. Include your organization’s existing experience
      providing financial assistance to qualified projects, particularly as described in your
      portfolio allocation (e.g., prior organizational experience with the planned project
      categories, segments, and geographies) and financial products and transactions (e.g., prior
      organizational experience with the financial products and with the types of transaction
      partnerships listed).
2.2    Governance and Management: Describe your organization’s plans to ensure strong,
       capable governance and management to support the program plan alongside other business
       activities.
2.2.1 Governance Plan: Describe your organization’s plan for ensuring strong board oversight
      and monitoring of management as well as stewardship of the organization’s long-term
      success. Include information on board size and composition, board committee structures,
      board member independence, and other relevant board policies and procedures. Attach the
      resumes of board members. You may also attach evidence of established board policies
      and procedures (including by-laws) that reflect this plan.
2.2.2 Management Plan: Provide your organizational structure or planned organizational
      structure (including an organizational chart); a list of key existing or proposed senior
      management and staff (including roles, responsibilities, diversity, expertise, skills, and
      track record); the actual or projected number of employees and staffing plan; management
      conflict of interest policies and procedures; management succession plan; and other
      relevant management policies and procedures. Attach the organizational chart and resumes
      of senior management. You may also attach evidence of established management policies
      and procedures that reflect this plan.
2.3    Equitable Policies: Describe your organization’s policies to ensure equity and fairness in
       your program and in your organization’s business activities.
2.3.1 Consumer Protection Plan: Describe your organization’s plan for ensuring consumer
      protection across any entity that interacts, transacts, or contracts with a consumer as part
      of your proposed program as well as your organization’s other business activities, such as
      through the sales and marketing of consumer products/services and financial products
      (including Property Assessed Clean Energy financing). Your plan should explain in detail
      how you will comply with applicable consumer protection laws, including the consumer
      protection laws in the jurisdictions your program will serve, and federal consumer
      protection and consumer financial laws, such as those prohibiting unfair, deceptive, and
      abusive practices (e.g., the Federal Trade Commission Act (15 USC § 45), Consumer
      Financial Protection Act (12 USC § 5536), and Fair Debt Collection Practices Act (15 USC
      § 1692e)); the Truth in Lending Act (15 USC § 1601 et seq.) and Regulation Z (12 CFR §
      1026), which require the disclosure of terms and cost of consumer credit and offer
      substantive protections to people who use consumer credit; and the Equal Credit
      Opportunity Act (15 USC § 1691 et seq.) and Regulation B (12 CFR § 1002), which
      prohibit creditors from discriminating against consumers who apply for or receive credit.
      These details may include policies and procedures; training materials; processes for


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        reviewing, tracking, and addressing consumer complaints regarding business practices and,
        if applicable, consumer complaints regarding the practices of any service provider used in
        the provision of a consumer financial product; periodic audits of consumer lending
        practices (including those of service providers); and more. You may attach evidence of
        established policies and procedures that reflect this plan.
2.3.2 Equity Policies and Practices: Describe your organization’s policies and practices to
      advance equity, defined for the purposes of this grant program as “the consistent and
      systematic treatment of all individuals in a fair, just, and impartial manner, including
      individuals who belong to communities that often have been denied such treatment.” Such
      communities may include persons from historically underserved communities of color;
      members of religious minorities; women and girls; LGBTQI+ persons; persons with
      disabilities; persons who live in rural areas; persons who live in United States Territories;
      persons otherwise adversely affected by persistent poverty or inequality; and individuals
      who belong to multiple such communities. Include policies and practices that integrate
      equity into your operational activities (e.g., a procurement policy providing outreach and
      access to disadvantaged business enterprises),14 investment activities (e.g., policies and
      practices that commit to environmental and social risk management), and governance (e.g.,
      policies and practices that incorporate community accountability). You may attach
      evidence of established equity policies and practices.
2.4     Risk Management: Describe your organization’s plans for strong risk management across
        your operations and business activities, including but not limited to preventing fraud,
        waste, and abuse.
2.4.1 Legal and Compliance Risk Management Plan: Describe your organization’s plan to
      comply with the grant’s terms and conditions and to manage broader legal and compliance
      risk. The legal and compliance risk management plan may include: risk assessments and
      remediation steps based on those risk assessments; policies and procedures; systematic
      documentation; regular training and communications, including top-down management
      communications; an authorization and certification system; clear separation of duties, even
      among management; asset safeguarding; confidential reporting mechanisms, including
      whistleblower protection policies and procedures; an internal investigation framework;
      third-party management, including collection and retention of third-party identification,
      basic or enhanced due diligence, internal payment tracking, routine audits, and contract
      termination clauses for failure to execute; resource allocation and management
      commitment to legal and compliance risk management; legal and compliance risk
      management compensation incentives and disincentives; consequences for employees and
      third parties, up to and including termination, for violating the compliance plan; audit and
      reconciliation mechanisms conducted by internal and external auditors; and subrecipient
      monitoring and management. Attach evidence of established policies and procedures that
      reflect this plan.
2.4.2 Financial Risk Management Plan: Describe your organization’s plan to identify, assess,
      measure, and manage critical financial risks, including climate-related financial risks. The

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  Note that grantees will have to comply with the Participation by Disadvantaged Business Enterprises in EPA
Programs requirements in 40 CFR Part 33.


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        financial risk management plan may include board and senior management oversight;
        policies, procedures, and limits (e.g., enterprise risk management framework, risk appetite
        statement, risk limits, etc.); risk monitoring and information systems (e.g., loan monitoring
        and management); and internal controls. Attach evidence of established policies and
        procedures that reflect this plan.
2.5     Financials: Provide your historical financial statements and future financial projections.
2.5.1 Financial Statements: Attach audited financial statements (i.e., statement of financial
      position, statement of activities, statement of functional expenses, and statement of cash
      flows) for your organization’s past three completed fiscal years and quarterly (unaudited)
      financial statements for the periods that ended during your organization’s current fiscal
      year. If you do not have audited financial statements, attach copies of unaudited financial
      statements with third-party review and/or attestation. If no financial statements are
      available, explain the reasoning for the unavailability and provide a statement indicating
      that you have no material liability or obligation, absolute or contingent (individually or in
      aggregate), no obligations under contracts made outside of the ordinary course of business,
      and no obligation that would be required to be reflected in financial statements under
      Generally Accepted Accounting Principles.
        Note: Applications will not receive full points unless they provide financial statements for
        each coalition member that would receive a subaward of greater than $10 million.
2.5.2 Financial Projections: Attach pro forma annual financial statement projections for the
      entire period of performance that cover your statement of financial position (i.e., balance
      sheet) and statement of activities (i.e., income statement). For the purposes of the
      financial projections, the statement of financial position should assume the full EPA
      funding request is recognized as an asset at the beginning of the period of
      performance.15 Given that the period of performance is anticipated to begin by July
      2024, the statement of financial position should reflect year-end figures as of June 30th
      of each year, starting with 2025, and the statement of activities should reflect activities
      from July through June of each year, starting with July 2024-June 2025. Explain how
      those projections demonstrate efficient, effective deployment of grant funds; continued
      operability of grant funds (including generation of sufficient program income); and
      continued operability of your organization. Describe the key assumptions used for your
      financial projections, identify the potential risks or sensitivities to your assumptions, and
      explain your plan to mitigate those risks or sensitivities if they materialize.
        Note: A template for the financial projections is available for download under the related
        documents within this grant opportunity (EPA-R-HQ-NCIF-23) on Grants.gov. Applicants
        that do not use the template will not be penalized.
        Note: Applications will not receive full points unless they provide financial projections for
        each coalition member that would receive a subaward of greater than $10 million.




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  This may not be the grant drawdown schedule included in the terms and conditions of the grant agreement. Please
see Section VI.B: Grant Drawdown Schedule for additional details.


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D. Pre-Application Assistance
Applicants are invited to participate in a webinar with EPA for additional information about this
funding opportunity. Interested parties may access information on the webinar (including date,
time, and registration information) as well as other information (such as frequently asked
questions) at the following website: www.epa.gov/GGRF. A recording of each webinar will be
posted at that link along with presented materials. If necessary, EPA may schedule additional
webinars.

In accordance with EPA Order 5700.5A1, EPA’s Assistance Agreement Competition Policy, EPA
staff will not meet with individual applicants to discuss draft applications, provide informal
comments on draft applications, or provide advice to applicants on how to respond to evaluation
criteria.

Applicants are responsible for the contents of their applications. However, consistent with the
provisions in the announcement, EPA will respond to written questions from individual applicants
regarding threshold eligibility criteria, administrative issues related to the submission of the
application, and requests for clarification about this funding opportunity.




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Section V. Application Review Information
Note: Additional provisions that apply to this section can be found at EPA Solicitation Clauses.

A. Evaluation Criteria
Each application that passes the threshold eligibility review described in Section III.C: Threshold
Eligibility Criteria will be reviewed according to the evaluation criteria set forth in this section.
Each application will be rated under a points system, with a total of 1,000 points possible—925
points possible for the specific application components of the Narrative Proposal, plus an
additional 75 points possible for cross-component review of the Narrative Proposal’s
centralization, comprehensiveness, and cohesiveness.

The evaluation criteria depicted in the table below directly correspond to specific application
components in the Narrative Proposal described in Section IV.C: Content of Application
Submission—and will be reviewed according to the evaluation criteria set forth in this section.
Applicants are encouraged to reference the index number and title of these components,
especially those with specific point allocations, to ensure appropriate evaluation.

                          Evaluation Criteria for Application Components                                 Points
                                                                                                        Possible
1. Program Plan     1.1 Program Vision                                                                    40
                    1.2 Investment     1.2.1 Community        1.2.1.1 Community Engagement Plan           30
                    Strategy           Engagement and
                                       Accountability         1.2.1.2 Community Accountability Plan       30
                                       Strategy
                                       1.2.2 Investment        1.2.2.1 Climate and Air Pollution          20
                                       Objectives              Benefits
                                                               1.2.2.2 Equity and Community Benefits      20
                                                               1.2.2.3 Market Transformation Benefits     20
                                         1.2.3 Portfolio       1.2.3.1 Project Categories                 25
                                         Allocation            1.2.3.2 Market Segments                    20
                                                               1.2.3.3 Geographies                        30
                                         1.2.4 Financial       1.2.4.1 Financial Products                 40
                                         Products and          1.2.4.2 Current Transaction Pipeline       15
                                         Transactions          1.2.4.3 Transaction Partnerships Plan      30
                                         1.2.5 Market          1.2.5.1 Predevelopment Plan                15
                                         Development Plan      1.2.5.2 Market-Building Plan               20
                                                               1.2.5.3 Labor and Equitable Workforce      20
                                                               Development Plan
                                                               1.2.5.4 Coordination Plan                  20
                                         1.2.6 Investment Policies                                        90
                    1.3 Program          1.3.1 Reporting Plan                                             20
                    Reporting            1.3.2 Reporting Capacity                                         10
                                         1.3.3 Past Performance and Reporting History                     10
                    1.4 Program          1.4.1 Expenditure and Disbursement of Awarded Funds              10
                    Budget               1.4.2 Budget Description and Table                               50
2. Organizational   2.1 Organizational   2.1.1 Description of Business                                    10
Plan                Background and       2.1.2 Organizational and Governing Documents                     10
                    Track Record         2.1.3 Organizational Experience                                  20
                                         2.2.1 Governance Plan                                            45



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                  2.2 Governance and 2.2.2 Management                                           45
                  Management         Plan
                  2.3 Equitable      2.3.1 Consumer Protection Plan                              30
                  Policies           2.3.2 Equity Policies and Practices                         30
                  2.4 Risk           2.4.1 Legal and Compliance Risk Management Plan             40
                  Management         2.4.2 Financial Risk Management Plan                        50
                  2.5 Financials     2.5.1 Financial Statements                                  30
                                     2.5.2 Financial Projections                                 30
                                                                                                925

The additional cross-component evaluation criteria depicted in the table below do not directly
correspond to specific application components in the Narrative Proposal described in Section IV.C:
Content of Application Submission—but will be reviewed according to the evaluation criteria set
forth in this section. Applicants do not need to reference the index number and title of these
criteria in their applications.

                          Cross-Component Evaluation Criteria                               Points
                                                                                           Possible
3. Centralization, 3.1 Centralization                                                        25
Comprehensiveness 3.2 Comprehensiveness                                                      25
and Cohesiveness 3.3 Cohesiveness                                                            25
                                                                                             75

1.     Program Plan
1.1    Program Vision (40 points total): Each application will be evaluated on extent and quality
       to which the program vision supports the GGRF program objectives during and after the
       period of performance, supporting the United States’ climate goals and priorities.
       Specifically, EPA will evaluate the extent to which the application:
       • Identifies the barriers to achieving the climate goals in the U.S. Nationally Determined
           Contribution and Executive Order 14037 while also achieving the priorities set forth in
           Executive Order 14005, Executive Order 14008, Executive Order 14082, Executive
           Order 14096, the Interagency Working Group on Coal and Power Plant Communities,
           and the Justice40 Initiative. (10 points)
       • Describes the financing solutions required to address those barriers and identifies gaps
           in the current ecosystem of financing solutions being developed and/or implemented
           by governmental and non-governmental entities. (10 points)
       • Describes how the applicant’s program makes a unique contribution to solving those
           barriers, particularly how it fills in gaps in the current financing ecosystem. (20 points)
1.2    Investment Strategy
1.2.1 Community Engagement and Accountability Strategy
1.2.1.1 Community Engagement Plan (30 points total): Each application will be evaluated on
        the extent and quality of the applicant’s plan to engage with communities that the National
        Clean Investment Fund is intended to serve, including as evidenced through signed letters
        of support from applicable community representatives and organizations. Specifically,
        EPA will evaluate the extent and quality to which the application:




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       •    Describes past, present, and future engagement with geographically diverse
            communities, including rural communities, that is comprehensive, frequent, accessible,
            and tailored to their priorities. (10 points)
       •    Describes past, present, and future engagement with Tribal communities (and their
            representatives from Tribal governments) that is comprehensive, frequent, accessible ,
            and tailored to their priorities. (10 points)
       •    Describes past, present, and future engagement with low-income and disadvantaged
            communities—including those that are communities with environmental justice
            concerns, energy communities, and persistent poverty counties—that is
            comprehensive, frequent, accessible, and tailored to their priorities. (10 points)
1.2.1.2 Community Accountability Plan (30 points total): Each application will be evaluated on
        the extent and quality of the applicant’s plan to maintain accountability to the communities
        that the National Clean Investment Fund is intended to serve, including as evidenced
        through signed letters of support from applicable community representatives and
        organizations. Specifically, EPA will evaluate the extent and quality to which the
        application:
        • Describes transparency mechanisms that will promote meaningful accountability to
            communities, including but not limited to those described in the community
            engagement plan. (10 points)
        • Describes participatory governance structures and other tools/commitments, such as
            independent advisory committees and community benefits agreements, that will ensure
            meaningful community input into organizational decisions (e.g., through providing
            decision-making authority) and community monitoring of the program’s activities
            (e.g., through issuing regular public reports evaluating progress in achieving objectives,
            especially delivering equity and community benefits). (20 points)
1.2.2 Investment Objectives
       Note: The magnitude of the goals and targets within the investment objectives will be
       evaluated on a per-dollar basis to for comparability across applications with different EPA
       funding requests.
1.2.2.1 Climate and Air Pollution Benefits (20 points total): Each application will be evaluated
        on the extent and quality of the goals and targets related to Program Objective 1, including
        accelerating progress toward the climate goals of the United States to reduce greenhouse
        gas emissions 50-52 percent below 2005 levels in 2030, reach 50 percent zero-emission
        vehicles share of all new passenger cars and light trucks sold in 2030, achieve a carbon
        pollution-free electricity sector by 2035, and achieve net-zero emissions by no later than
        2050. Specifically, EPA will evaluate the extent and quality to which the application:
        • Articulates goals aligned to Program Objective 1 and describes impactful, measurable,
            and achievable targets to assess progress against the goals during and after the period
            of performance (e.g., reduction and avoidance of emissions of greenhouse gases and
            other air pollutants). (20 points)
1.2.2.2 Equity and Community Benefits (20 points total): Each application will be evaluated on
        the extent and quality of the goals and targets related to Program Objective 2, including
        delivering equity and community benefits to low-income and disadvantaged communities.
        Specifically, EPA will evaluate the extent and quality to which the application:


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       •    Articulates goals aligned to Program Objective 2 and describes impactful, measurable,
            and achievable targets to assess progress against the goals during and after the period
            of performance. (20 points)
1.2.2.3 Market Transformation Benefits (20 points total): Each application will be evaluated
        on the extent and quality of the goals and targets related to Program Objective 3.
        Specifically, EPA will evaluate the extent and quality to which the application:
        • Articulates goals aligned to Program Objective 3 and describes impactful, measurable,
           and achievable targets to assess progress against the goals during and after the period
           of performance (e.g., private capital mobilization). (20 points)
1.2.3 Portfolio Allocation
1.2.3.1 Project Categories (25 points total): Each application will be evaluated on the extent and
        quality of the description of and rationale for the project categories that will be deployed.
        Specifically, EPA will evaluate the extent and quality to which the application:
        • Explains how the project categories, and projected portfolio allocation across
           categories, support the investment objectives—especially around Program Objective
           1—and describes how the project categories cover all three priority project categories
           or, alternatively, provides a rationale for why any of the priority project categories are
           not covered. Any application with such a rationale will not be penalized and will instead
           be awarded points based on the strength of the rationale. (15 points)
        • Describes how each project category aligns with the requirements of qualified projects,
           where relevant, such as addressing the first requirement through referencing
           decarbonization pathways (applicants may refer to the template provided in Appendix
           B: Qualified Project Checklist for guidance). (10 points)
1.2.3.2 Market Segments (20 points total): Each application will be evaluated on the extent and
        quality of the description of and rationale for the market segments that will deploy projects.
        Specifically, EPA will evaluate the extent and quality to which the application:
        • Explains how the market segments, and the projected portfolio allocation across them,
           support the investment objectives—especially around Program Objective 2. (10 points)
        • Describes how each market segment aligns with the requirements of qualified projects,
           where relevant, such as addressing the fourth requirement through identifying market
           segments that currently lack and/or have historically lacked capital access (applicants
           may refer to the template provided in Appendix B: Qualified Project Checklist for
           guidance). (10 points)
1.2.3.3 Geographies (30 points total): Each application will be evaluated on the extent and
        quality of the description of and rationale for the geographies in which projects will be
        deployed. Specifically, EPA will evaluate the extent and quality to which the application:
        • Explains how projects will be deployed in geographically diverse communities (such
           as rural communities), including through a projected portfolio allocation across
           geographically diverse communities. (10 points)
        • Explains how projects will be deployed in Tribal lands, including through the projected
           portfolio allocation across Tribal lands. (10 points)
        • Explains how projects will be deployed in low-income and disadvantaged communities
           (such as those that are communities with environmental justice concerns, energy



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           communities, and persistent poverty counties), including through the projected
           portfolio allocation across low-income and disadvantaged communities. (10 points)
1.2.4 Financial Products and Transactions
1.2.4.1 Financial Products (40 points total): Each application will be evaluated on the extent and
        quality of the financial products that the applicant plans to offer and how those financial
        products effectively support the portfolio allocation. Specifically, EPA will evaluate the
        extent and quality to which the application:
        • Provides a detailed description of financial products that the applicant plans to offer,
            including any financing vehicles and structures that will be used to deliver those
            financial products. (15 points)
        • Explains how the financial products, and the projected allocation of grant funds across
            them, effectively support the portfolio allocation (i.e., the project categories, market
            segments, and geographies). (25 points)
1.2.4.2 Current Transaction Pipeline (15 points total): Each application will be evaluated on
        the extent and quality of the applicant’s current transaction pipeline of qualified projects
        aligned to its portfolio allocation. Specifically, EPA will evaluate the extent and quality to
        which the application:
        • Provides an existing transaction pipeline of projects that is sizable, aligns with the
            portfolio allocation, and is likely to materialize (including as evidenced through signed
            letters of commitment from potential counterparties). (15 points)
1.2.4.3 Transaction Partnerships Plan (30 points total): Each application will be evaluated on
        the extent and quality of the applicant’s plan to use partnerships to build and execute on a
        robust, national transaction pipeline. Specifically, EPA will evaluate the extent and quality
        to which the application:
        • Proposes an effective operating model through which the applicant will partner with
            other organizations to build and execute on a robust, national transaction pipeline. (15
            points)
        • Provides clear evidence that this operating model will materialize, including as
            evidenced through signed letters of commitment from potential partners. (15 points)
       Note: Applications that do not propose partnerships will be evaluated based on how well
       they demonstrate that they can effectively and efficiently build and execute on a robust,
       national transaction pipeline on their own without any collaborating partners.
1.2.5 Market Development Plan
1.2.5.1 Predevelopment Plan (15 points total): Each application will be evaluated on the extent
        and quality of the applicant’s plan to undertake and/or support predevelopment activities,
        directly generating a pipeline of qualified projects that the applicant intends to finance (as
        articulated in the portfolio allocation), especially in low-income and disadvantaged
        communities. Specifically, EPA will evaluate the extent and quality to which the
        application:
        • Describes an effective plan for predevelopment activities, explaining the types of
            predevelopment activities that will be carried out, the partners that will be involved,
            and the rationale for why the predevelopment activities will address existing barriers



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           and drive a pipeline of financeable projects, especially in low-income and
           disadvantaged communities. (15 points)
1.2.5.2 Market-Building Plan (20 points total): Each application will be evaluated on the extent
        and quality of the applicant’s plan to generate market-wide demand for qualified projects
        and to build a more supportive financial market for providing financial products to
        qualified projects, especially in low-income and disadvantaged communities. Specifically,
        EPA will evaluate the extent and quality to which the application:
        • Describes an effective plan for non-financial market-building, explaining the types of
           market-building activities that will be carried out, the partners that will be involved,
           and the rationale for why the non-financial market-building activities will address
           existing capital demand-side barriers to financing qualified projects, especially in low-
           income and disadvantaged communities. (10 points)
        • Describes an effective plan for financial market-building, explaining the types of
           financial market-building activities that will be carried out, the partners that will be
           involved, and the rationale for why such financial market-building addresses existing
           capital supply-side barriers to financing qualified projects, especially in low-income
           and disadvantaged communities. (10 points)
1.2.5.3 Labor and Equitable Workforce Development Plan (20 points total): Each application
        will be evaluated on the extent and quality of the applicant’s plan to ensure that projects
        that are ultimately financed as a result of the applicant’s program generate high-quality
        jobs with a diverse, skilled workforce as well as the applicant’s plan to comply with the
        Build-America, Buy-America Act and Davis-Bacon and Related Acts. Specifically, EPA
        will evaluate the extent and quality to which the application:
        • Describes an effective plan to ensure that projects generate high-quality jobs with a
            diverse, skilled workforce through setting policies and enforcing standards on financial
            products (e.g., a framework to review investment decisions with a labor and workforce
            lens); supporting partners, such as private capital providers and community lenders as
            well as project sponsors, on best practices; and more. Applicants will be evaluated on
            the strength of the plan, which may include evidence through signed letters of
            commitment from applicable labor organizations, including unions and other workers’
            rights groups. (10 points)
        • Describes an effective plan to comply with the requirements of the Build-America,
            Buy-America Act and Davis-Bacon and Related Acts, including through identifying
            the activities that will be involved and the resources that will be required to execute
            against those activities. (10 points)
1.2.5.4 Coordination Plan (20 points total): Each application will be evaluated on the extent and
        quality of the applicant’s plan to leverage existing financial and technical assistance
        resources and to coordinate with other GGRF grantees. Specifically, EPA will evaluate the
        extent and quality to which the application:
        • Describes a plan to leverage existing resources from federal, Tribal, state, territorial,
            and local governments and non-governmental organizations to maximize effectiveness
            at achieving the investment objectives. (10 points)
        • Describes a plan to coordinate with grantees across the National Clean Investment
            Fund, Clean Communities Investment Accelerator, and Solar for All programs,



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           minimizing duplication and maximizing complementarity across grantees in achieving
           the GGRF program objectives. (10 points)
1.2.6 Investment Policies (90 points total): Each application will be evaluated on the extent
      and quality of the applicant’s investment policies governing their investments. Specifically,
      EPA will evaluate the extent and quality to which the application:
      • Integrates traditional financial factors into the transaction-level investment screening
         and selection process, consistent with prudent underwriting principles and covering the
         different types of financial products (e.g., asset classes) described in the program plan.
         (15 points)
      • Integrates program-specific factors into the transaction-level investment screening and
         selection process, consistent with the definition of qualified projects. Applicants may
         refer to the template provided in Appendix B: Qualified Project Checklist for guidance.
         (15 points)
      • Integrates housing affordability protection into the investment strategy, including but
         not limited to policies that maintain affordability of existing housing stock (e.g.,
         affordability-related financing covenants), minimize displacement (e.g., displacement-
         related policies), and prevent rapid cost increases (e.g., policies to prioritize financing
         of properties providing affordable housing). (10 points)
      • Provides well-documented, effective policies to ensure that at least 40% of grant funds
         are used for the purposes of providing financial assistance in low-income and
         disadvantaged communities (you may reference Appendix C: Guidance for Low-
         Income and Disadvantaged Community Expenditures for additional guidance) as well
         as that such financial assistance also delivers benefits to low-income and disadvantaged
         communities. (20 points)
      • Provides well-documented, effective policies to support portfolio-level diversification
         and risk management, including those that limit concentration risks. (20 points)
      • Explains well-documented, effective governance processes to make investment
         decisions as well as to update the investment strategy. (10 points)
1.3    Program Reporting
1.3.1 Reporting Plan (20 points total): Each application will be evaluated on the extent and
      quality of the applicant’s plan for tracking and reporting environmental outputs and
      outcomes. Specifically, EPA will evaluate the extent and quality to which the application:
      • Describes outputs and outcomes that align with the grant’s reporting requirements,
          including measures to track and report against those outputs and outcomes. (10 points)
      • Describes methodologies, inputs, and assumptions that will allow the applicant to
          execute tracking and reporting against those outputs and outcomes. (10 points)
1.3.2 Reporting Capacity (10 points total): Each application will be evaluated on the extent
      and quality of the applicant’s capacity to meet the grant’s reporting requirements.
      Specifically, EPA will evaluate the extent and quality to which the application:
      • Details the resources that the applicant plans to leverage and why those resources are
         needed to execute against the grant’s reporting requirements, especially tracking and
         reporting outputs and outcomes (i.e., climate and air pollution benefits, equity and
         community benefits, and market transformation benefits); establishing policies and



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           procedures to ensure reliable reporting; and developing plans for third-party validation,
           verification, and assurance of reporting. (10 points)
1.3.3 Past Performance and Reporting History (10 points total): Each application will be
      evaluated on the extent and quality to which the applicant has successfully completed and
      managed past federally and non-federally funded assistance agreements. Specifically, EPA
      will evaluate the extent and quality of the applicant’s:
      • Past performance in successfully completing and managing assistance agreements as
          well as history of meeting the reporting requirements under those assistance
          agreements, including whether the applicant submitted acceptable final technical
          reports under those agreements and the extent to which the applicant adequately and
          timely reported on their progress toward achieving the expected outputs and outcomes
          under those agreements and, if such progress was not being made, whether the applicant
          adequately reported why not. (10 points)
           Note: In evaluating applicants under this factor, EPA will consider the information
           provided by the applicant and may also consider relevant information from other
           sources, including information from EPA files and from current/prior grantors (e.g., to
           verify and/or supplement the information provided by the applicant), pursuant to 2 CFR
           § 200.206. If the applicant does not have any relevant or available past performance
           or reporting history information, the applicant should indicate this in the application
           and will receive a neutral score (a neutral score is half of the total points available in
           a subset of possible points). If the applicant does not provide any response, the
           applicant may receive a score of 0.
1.4    Program Budget
1.4.1 Expenditure and Disbursement of Awarded Funds (10 points total): Each application
      will be evaluated on the extent and quality of the applicant’s planned expenditure and
      disbursement of awarded funds. Specifically, EPA will evaluate the extent and quality to
      which the application:
      • Demonstrates the approach, procedures, and controls for ensuring that awarded grant
          funds will be expended and disbursed in a timely and efficient manner. (10 points)
1.4.2 Budget Description and Table (50 points total): Each application will be evaluated on
      the extent and quality of the applicant’s budget description and table. Specifically, EPA
      will evaluate the extent and quality to which the application:
      • Describes costs that are reasonable to accomplish the program plan through the budget
          description and table, including maximizing the share of funds used for financial
          assistance (both the direct costs of funds passed through for financial assistance as well
          as associated indirect costs). (30 points)
      • Describes efficient, effective deployment of grant funds through the budget description
          and table. (10 points)
      • Provides a detailed budget table that breaks up funding type into the proper budget
          categories, providing clarity, accuracy, and granularity on the applicant’s planned use
          of funds. (10 points)
       Note: The budget description must describe how the applicant will meet the requirement
       that at least 40% of funds be used for the purposes of providing financial assistance in low-



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       income and disadvantaged communities, as described in Section III.C: Threshold
       Eligibility Criteria.
2.     Organizational Plan
2.1    Organizational Background and Track Record
2.1.1 Description of Business (10 points total): Each application will be evaluated on the extent
      and quality to which the business description supports the program plan alongside other
      business activities. Specifically, EPA will evaluate the extent and quality to which the
      application:
      • Provides a description of business that aligns with the program plan and that enables
         the organization to execute the program plan alongside other business activities. (10
         points)
2.1.2 Organizational and Governing Documents (10 points total): Each application will be
      evaluated on the extent and quality to which the organizational and governing documents
      support the program plan alongside other business activities. Specifically, EPA will
      evaluate the extent and quality to which the application:
      • Provides organizational and governing documents that are relevant, high-quality, and
         aligned to the GGRF program objectives. (10 points)
2.1.3 Organizational Experience (20 points total): Each application will be evaluated on the
      extent and quality to which it describes organizational experience relevant to executing the
      activities discussed in the program plan. Specifically, EPA will evaluate the extent and
      quality to which the application:
      • Describes past instances of successfully executing activities similar to those described
          in the applicant’s program plan, including the scope, activities, and results of those
          activities. (20 points)
       Note: The organizational experience of the individual applicant as well as any non-lead
       coalition members may be evaluated; the experience of contractors or specific individuals
       in governance and management will not be evaluated. If the applicant does not have any
       relevant or available organizational experience information, the applicant should indicate
       this in the application and will receive a neutral score (a neutral score is half of the total
       points available in a subset of possible points). If the applicant does not provide any
       response, the applicant may receive a score of 0.
2.2    Governance and Management
2.2.1 Governance Plan (45 points total): Each application will be evaluated on the extent and
      quality of the board’s oversight and monitoring of management as well as stewardship of
      the organization’s long-term success. Specifically, EPA will evaluate the extent and quality
      to which the application:
      • Describes a board with appropriate size and composition, including a board of directors
          with relevant expertise, skills, and track record (such as in emissions and air pollution
          reduction; clean technology investment and low-income and disadvantaged community
          investment; and financial markets and institutions) as well as board diversity (such as
          from geographically diverse communities, including rural communities; Tribal
          communities; and low-income and disadvantaged communities, including those that



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            are communities with environmental justice concerns, energy communities, and
            persistent poverty counties). (20 points)
       •    Describes a board with adequate committee structures to oversee and monitor
            management, such as an investment or credit committee (i.e., to oversee and approve
            investment or credit decisions), risk management committee (i.e., to oversee the
            formulation and operation of the risk management framework), audit committee (i.e.,
            to oversee the integrity of reporting and internal controls and the performance of audit
            functions), nomination/governance committee (i.e., to oversee nomination and
            succession of board and senior management), and compensation committee (i.e., to
            oversee board as well as senior management and staff compensation). (10 points)
       •    Describes a board that is independent, with an appropriate percentage of independent
            board members and a strong definition of “independent” as well as that has effective
            and comprehensive board policies and procedures, including policies and procedures
            for board training; board meeting frequency (e.g., quarterly) and duration; board
            meeting documentation; board conflict of interest policies and procedures;
            whistleblower and ethics policies; board evaluation processes; and board nomination
            and succession plans. (15 points)
2.2.2 Management Plan (45 points total): Each application will be evaluated on the extent and
      quality of the planned management team and accompanying organizational structure.
      Specifically, EPA will evaluate the extent and quality to which the application:
      • Describes an organizational structure with the requisite number of employees and
         staffing (such as personnel with experience in data, technology, and cybersecurity and
         in planning, designing, developing, implementing, and evaluating programs) and with
         senior management covering the following roles or responsibilities: chief executive
         officer, chief risk officer, general counsel, chief compliance officer, chief investment
         officer, chief reporting/accounting officer, and chief financial officer. (10 points)
      • Includes senior management with the expertise, skills, and track record to efficiently
         and effectively execute the program plan (such as in emissions and air pollution
         reduction; clean technology investment and low-income and disadvantaged community
         investment; and financial markets and institutions) as well as with diverse backgrounds
         (such as from geographically diverse communities, including rural communities; Tribal
         communities; and low-income and disadvantaged communities, including those that
         are communities with environmental justice concerns, energy communities, and
         persistent poverty counties). (25 points)
      • Describes effective and comprehensive management policies and procedures,
         including those specifying management versus board duties; conflict of interest policies
         and procedures; and management succession plans. (10 points)
2.3    Equitable Policies
2.3.1 Consumer Protection Plan (30 points total): Each application will be evaluated on the
      extent and quality of the plan for ensuring consumer protection across any entity that
      interacts, transacts, or contracts with a consumer as part of the applicant’s proposed
      program as well as other business activities. Specifically, EPA will evaluate the extent and
      quality to which the application:
      • Describes a plan to effectively comply with applicable consumer protection laws that
          prohibit unfair, deceptive, and abusive practices. (10 points)


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       •    Describes a plan to effectively comply with the Truth in Lending Act (15 USC § 1601
            et seq.) and Regulation Z (12 CFR §1026) as well as the Equal Credit Opportunity Act
            (15 USC § 1691 et seq.) and Regulation B (12 CFR § 1002). (10 points)
       •    Describes a plan that ensures any service provider utilized in the provision of a financial
            product (by the applicant or any of its financing partners) does not present unwarranted
            risks to consumers, including service providers for financial products originated and
            sold, and creates a process for reviewing, tracking, and addressing consumer
            complaints against any service providers used in the provision of a financial product.
            (10 points)
2.3.2 Equity Policies and Practices (30 points total): Each application will be evaluated on the
      extent and quality to which the equity policies and practices will ensure equity is integrated
      into the applicant’s operations, investment activities, and governance. Specifically, EPA
      will evaluate the extent and quality to which the application:
      • Includes policies and practices that integrate equity into the applicant’s operational and
          investment activities and explains how such policies and practices advance “equity,”
          as defined in Section IV.C: Content of Application Submission. (15 points)
      • Includes policies and practices that integrate equity into the applicant’s governance and
          explains how such policies and practices advance “equity,” as defined in Section IV.C:
          Content of Application Submission. (15 points)
2.4    Risk Management
       Note: Applications with plans for stronger risk management across all EPA funds
       requested will score higher; applications with plans for strong risk management for only
       a portion of the EPA funds requested (i.e., not covering how it will manage legal and
       compliance risk among coalition members, if submitting a coalition application) will score
       lower.
2.4.1 Legal and Compliance Risk Management Plan (40 points total): Each application will
      be evaluated on the extent and quality of the plan to comply with the grant’s terms and
      conditions and to manage broader legal and compliance risk. Specifically, EPA will
      evaluate the extent and quality to which the application:
      • Describes a plan to comply with 2 CFR § 200.302(b) (financial management), 2 CFR
          § 200.303 (internal controls), and 2 CFR § 200.332 (requirements for pass-through
          entities). (20 points)
      • Provides an assessment of legal and compliance risks associated with the applicant’s
          program as well as other business activities, as well as a robust plan to mitigate those
          risks. (20 points)

2.4.2 Financial Risk Management Plan (50 points total): Each application will be evaluated
      on the extent and quality of the plan to identify, assess, measure, and manage critical
      financial risks. Specifically, EPA will evaluate the extent and quality to which the
      application:
      • Provides a plan that effectively identifies, assesses, measures, and manages credit,
          liquidity, market, operational (e.g., cybersecurity), strategic, reputational, and other
          critical financial risks. (35 points)




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        •    Provides a plan that effectively incorporates climate-related financial risks, both
             physical and transition risks, including integration into the aforementioned
             identification, assessment, measurement, and management of financial risks (especially
             within credit risk and underwriting processes). (15 points)
2.5     Financials
2.5.1 Financial Statements (30 points total): Each application will be evaluated on the extent
      and quality of its financial statements. Specifically, EPA will evaluate the extent and
      quality to which the application:
        •    Provides audited financial statements for the past three fiscal years and quarterly
             (unaudited) financial statements for the current fiscal year; applicants without such
             financial statements will score lower, although they can still receive more than a neutral
             score by providing alternative information and explanations. (15 points)
        •    Demonstrates financial health and capacity through those financial statements,
             including based on performance against key financial ratios.16 (15 points)
        Note: If the applicant does not have any financial statements (audited or unaudited)
        covering the past three fiscal years, the applicant should indicate this in the application
        and will receive a neutral score (a neutral score is half of the total points available in a
        subset of possible points) on the second criterion, since that criterion requires assessment
        of financial health against financial statements. If the applicant does not provide any
        response, the applicant may receive a score of 0.
        Note: Applications will not receive full points unless they provide financial statements for
        each coalition member that would receive a subaward of greater than $10 million.
2.5.2 Financial Projections (30 points total): Each application will be evaluated on the extent
      and quality of the financial projections (for both the grant funds and the applicant as an
      organization considering all sources of funds) for the entire period of performance.
      Specifically, EPA will evaluate the extent and quality to which the application:
      • Demonstrates continued operability of the program funded by the grant award,
         including generation of sufficient program income (consistent with 2 CFR § 200.307
         and 2 CFR § 1500.8) as well as continued operability of the applicant, through the
         financial projections. (15 points)
      • Explains the assumptions used in the financial projections, the level of risks associated
         with those assumptions, and the plans to mitigate those risks if they materialize—
         including how the macroeconomic environment (e.g., interest rates) may impact the
         financial projections. (15 points)
        Note: Applications will not receive full points unless they provide financial projections for
        each coalition member that would receive a subaward of greater than $10 million.


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  EPA may assess the following financial ratios, among others: Portfolio-at-Risk Ratio ([Loans 90+ Days Past Due +
Troubled Debt Restructuring]/[Total On-Balance Sheet Loan and Lease Portfolio], Net Asset Ratio (Net Assets/Total
Assets), Self-Sufficiency Ratio (Earned Revenue/Operating Expenses), Current Ratio (Current Assets/Current
Liabilities), Change in Net Assets (Change in Net Assets), Deployment Ratio (Total On-Balance Sheet Loan and
Lease Portfolio/Net Assets in Program Account), Operating Liquidity Ratio (Unrestricted Cash & Cash Equivalents /
25% of Operating Expenses), and Expense Ratio (Operating Expenses/Total Assets).


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       Note: Applications may be able to receive full points even if they submit only selected line
       items for their financial projections; in this case, the individual line items may not sum
       together. All financial projections will be evaluated based on the evaluation criteria above,
       regardless of whether they include all line items or only selected line items.
3.     Centralization, Comprehensiveness, and Cohesiveness
3.1    Centralization (25 points total): Each application will be evaluated on the extent and
       quality to which it proposed to create a centralized source of capital, wherein grant funds
       are centrally controlled and managed. Although applicants may submit either individual or
       coalition applications, individual applications will tend to score higher on this criterion,
       and coalition applications will tend to score lower on this criterion—unless the lead
       applicant can demonstrate that the coalition will operate in a coordinated fashion through
       standardized programmatic and financial practices as well as effective communication
       channels. Specifically, EPA will evaluate the extent and quality to which the application:
       • Centralizes the control, management, and execution of the grant program. (10 points)
       • Standardizes the control, management, and execution of the grant program such that
           grant activities are consistently controlled, managed, and executed across the entire
           program. (15 points)
3.2    Comprehensiveness (25 points total): Each application will be evaluated on the extent
       and quality to which it is comprehensive, covering all components and sub-components
       described in Section IV.C: Content of Application Submission. Specifically, EPA will
       evaluate the extent and quality to which the application includes:
       • A program plan that provides comprehensive coverage of all components and sub-
          components of the program plan, as described in Section IV.C: Content of Application
          Submission. (15 points)
       • An organizational plan that provides comprehensive coverage of all components and
          sub-components of the organizational plan, as described in Section IV.C: Content of
          Application Submission. (10 points)
3.3    Cohesiveness (25 points total): Each application will be evaluated on the extent and
       quality to which it is cohesive, providing a clear program proposal that ties together the
       components and sub-components described in Section IV.C: Content of Application
       Submission. Specifically, EPA will evaluate the extent and quality to which the application
       includes:
       • A program plan that is cohesive, providing a clear program proposal that ties together
           the components and sub-components describing how the applicant plans to effectively
           use grant funds to advance the GGRF program objectives, as described in Section IV.C:
           Content of Application Submission. (15 points)
       • An organizational plan that is cohesive, providing a clear program proposal that ties
           together the components and sub-components describing how the applicant will have
           the organizational capacity necessary to carry out the program plan, as described in
           Section IV.C: Content of Application Submission. (10 points)

B. Review and Selection Process
Applications will be reviewed and scored under the process listed below.



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1. Threshold Eligibility Review Process: All applications will be evaluated for eligibility using
the threshold eligibility criteria described in Section III.C: Threshold Eligibility Criteria.

2. Review Panel and Evaluation Process: Review panel(s) will review, score, and rank all
eligible applications that pass the threshold eligibility review based on the merit evaluation criteria
listed above. The review panel(s) will include EPA staff and may also include staff from other
federal agencies and external subject matter experts who are free from any actual or apparent
conflicts of interest.

3. Interviews for Top-Ranked Applications: The review panel(s) may conduct virtual or in-
person interviews with top-ranked applicants. Applicants designated for such interviews would be
provided information regarding the interview process upon designation.

4. Final Selection Process and Other Factors: The review panel(s) will present final rankings
and selection recommendations to the Selection Official, who will then make the final selections
for awards.

In addition to the information presented by the review panel(s), the Selection Official may also
consider any of the following “other factors” in making final selection decisions from among the
top-ranked applications: project categories (e.g., to ensure sufficient coverage of priority project
categories); geographic diversity (e.g., to ensure sufficient coverage within all EPA regions);
organizational capacity considerations due to organizations participating in multiple applications
that are top-ranked (i.e., as individual applicants, lead applicants of coalition applications, or non-
lead members of coalition applications); GGRF program objectives; EPA strategic goals and
objectives; and availability of funds.

5. Anticipated Announcement and Federal Award Date: EPA anticipates it will announce
selection decisions in March 2024.




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Section VI. Award Administration Information
Note: Additional provisions that apply to this section can be found at EPA Solicitation Clauses.

A. Award Notification and Disputes
EPA anticipates notification of selected applicants will be made via electronic mail in March 2024.
The notification will be sent to the original signer of the application or the contact listed in the
application. This notification, which informs the applicant that its application has been selected, is
not an authorization to begin work. The official notification of an award will be made by the EPA
Award Official. Applicants are cautioned that only a grants officer is authorized to bind the
Government to the expenditure of funds; selection does not guarantee an award will be made. For
example, statutory authorization, funding, or other issues discovered during the award process may
affect the ability of EPA to make an award to an applicant. The award notice, signed by a grants
officer, is the authorizing document and will be provided through electronic mail. The successful
applicant may be requested to prepare and submit additional documents and forms that must be
approved by EPA before the grant can officially be awarded. The time between notification of
selection and finalization of the award agreement can take up to 90 days or longer.17

Assistance agreement competition-related disputes will be resolved in accordance with the dispute
resolution procedures published in 70 FR (Federal Register) 3629, 3630 (January 26, 2005), which
can be found at Grant Competition Dispute Resolution Procedures. Copies of these procedures
may also be requested by contacting the person listed in Section VII of the announcement. Note, the
FR notice references regulations at 40 CFR Parts 30 and 31 that have been superseded by
regulations in 2 CFR Parts 200 and 1500. Notwithstanding the regulatory changes, the procedures
for competition-related disputes remain unchanged from the procedures described at 70 FR 3629,
3630, as indicated in 2 CFR Part 1500, Subpart E.

B. Grant Drawdown Schedule
In accordance with the EPA General Terms and Conditions, grantees typically draw funds only
for the minimum amounts needed for actual and immediate cash requirements; disbursements
occurring within 5 business days of drawdown comply with this requirement. After an applicant
is selected for an award, EPA staff (Project Officer, Grant Specialist, and Financial Specialist) will
discuss departures from the EPA General Terms and Conditions with each selected awardee on a
case-by-case basis, to the extent such departures are reasonable and necessary for performance
under each selected application. These departures may include:
     • A schedule of working capital advances to provide each grantee an initial advance as well
         as annual advances over the period of performance such that the grantee can provide timely
         financial assistance to counterparties, consistent with 2 CFR § 200.305(b)(4) as
         supplemented by 2 CFR § 1500.4(a), which allows for exceptions to 2 CFR § 200.305(b)
         as necessary;

17
   Non-profit applicants that are recommended for funding under this announcement are subject to pre-award
administrative capability reviews consistent with Section 8b, 8c, and 9d of EPA Order 5700.8: EPA's Policy on
Assessing Capabilities of Non-Profit Applicants for Managing Assistance Awards. In addition, non-profit applicants
selected for awards over $200,000 may be required to fill out and submit to the grants management office EPA Form
6600.09, United States Environmental Protection Agency Administrative Capability Questionnaire with supporting
documents as required in EPA Order 5700.8.


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     •   A one-time or periodic balance-sheet capitalization(s), in accordance with 2 CFR §
         1500.4(a), which allows for exceptions to 2 CFR § 200.305(b); or
     •   Other departures as agreed upon by the EPA Award Official or through regulatory
         exceptions provided under 2 CFR § 1500.4(a).

Note that any departures from typical drawdown requirements in 2 CFR § 200.305(b) or the EPA
General Terms and Conditions may be subject to measures or other arrangements (e.g., bonds,
insurance requirements, financial agent arrangements with U.S. Department of Treasury) to ensure
that EPA’s interests are protected.18

C. Program Income Requirements
In accordance with Clean Air Act Section 134(b)(1)(C) as well as 2 CFR § 200.307(e)(2) and 2
CFR § 1500.8(b), which “flow down” to subgrantees as provided in 2 CFR § 200.332 and EPA
General Terms and Conditions, grantees will be required to retain program income earned during
the period of performance. Program income will be added to funds committed to the program by
EPA and used for the purposes and under the conditions of the assistance agreement and beyond
the period of performance based on close-out agreements. Grantees will report on the amount of
program income earned during the period of performance through the quarterly Federal Financial
Report, Standard Form 425. In accordance with 2 CFR § 1500.8(d) as supplemented by the terms
and conditions of the grant award, each grantee will only be authorized to use program income
once the grant award is fully drawn down, at which point EPA will enter into a closeout agreement
with the grantee. Note that EPA plans to establish programmatic requirements in a closeout
agreement to implement program income requirements.

D. Administrative and National Policy Requirements
Grantees will be subject to administrative and national policy requirements. Note that EPA plans
to establish programmatic requirements in the terms and conditions of each grant agreement to
implement these administrative and national policy requirements, which will include but not be
limited to:
    • Build America, Buy America Act (BABA): Certain projects under this competition are
        subject to the Buy America Sourcing requirements under the Build America, Buy America
        (BABA) provisions of the Infrastructure Investment and Jobs Act (IIJA) (P.L. 117-58, §§
        70911-70917) that apply when using Federal funds for the purchase of goods, products,
        and materials on any form of construction, alteration, maintenance, or repair of
        infrastructure in the United States. The Buy America preference requirement applies to all
        the iron and steel, manufactured products, and construction materials used for the
        infrastructure project under an award for identified EPA financial assistance funding
        programs. Please consider this information when preparing budget information. EPA will
        provide further guidance on which projects are subject to BABA provisions and will work
        with grantees to support implementation as necessary, as applicants comply with applicable
        Buy America preference requirements or apply for a waiver for each infrastructure project.


18
  Costs for acquiring bonds or insurance required by the terms of the EPA grant award are allowable as provided in
2 CFR § 200.427 and 2 CFR § 200.447, respectively. EPA may require that grantees bear part of the cost of bonds or
insurance as a cost-share.


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   •   Davis-Bacon and Related Acts (DBRA): The Davis-Bacon Act (42 USC §§ 3141-3144)
       (DBA) sets out labor standards, including prevailing wages and fringe benefits, and applies
       to most federally funded contracts for construction of public works. The DBA labor
       standards and reporting requirements also apply to projects assisted with grants authorized
       by the Clean Air Act as provided in Section 314 of the Clean Air Act (42 USC § 7614)
       (DBRA). A term and condition specifying DBRA compliance requirements will be
       included in the grant agreement.
   •   Uniform Relocation Assistance and Real Property Acquisition Policies Act (URA):
       The URA applies to acquisitions of property and displacements of individuals and
       businesses that result from federally assisted programs. The URA and Federal Highway
       Administration’s implementing regulations at 49 CFR Part 24 require grantees to follow
       certain procedures for acquiring property for grant purposes, such as notice, negotiation,
       and appraisal requirements. The statute and regulations also contain requirements for
       carrying out relocations of displaced persons and businesses, such as reimbursement
       requirements for moving expenses and standards for replacement housing. A term and
       condition specifying URA compliance requirements will be included in the grant
       agreement.
   •   National Historic Preservation Act (NHPA): Section 106 of the NHPA requires all
       federal agencies to consider the effects of their undertakings, including the act of awarding
       a grant agreement, on historic properties. If NHPA compliance is required, necessary
       Section 106 consultation activities, such as historic or architectural surveys, structural
       engineering analysis of buildings, public meetings, and archival photographs, can be
       considered allowable and allocable grant costs. A term and condition specifying NHPA
       compliance requirements will be included in the grant agreement.
   •   Justice40 Initiative: The Justice40 Initiative sets the goal that 40% of the overall benefits
       from certain federal investments in climate, clean energy, and other areas flow to
       disadvantaged communities. The Greenhouse Gas Reduction Fund is a covered program
       under the Justice40 Initiative, and EPA is tracking and measuring program benefits to
       advance this goal. A term and condition specifying reporting of metrics demonstrating the
       extent to which the grant’s activities advance this 40% goal will be included in each grant
       agreement.

Note that Section 7(c) of the Energy Supply and Environmental Coordination Act of 1974 (15
USC § 793(c)(1)) exempts all actions under the Clean Air Act from the requirements of NEPA
(National Environmental Policy Act). This Section states: “No action taken under the Clean Air
Act shall be deemed a major Federal action significantly affecting the quality of the human
environment within the meaning of the National Environmental Policy Act of 1969.” Therefore,
as a grant program authorized under the Clean Air Act, NEPA will not apply to projects funded
under the National Clean Investment Fund.

E. Reporting Requirements
Grantees will be subject to both program performance as well as financial and administrative
reporting requirements, as described below. Note that EPA will only collect reporting information
from each grantee (rather than from any subrecipients), but each grantee may need to collect
reporting information from subrecipients in order to meet these reporting requirements.



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Program Performance Reporting: In accordance with 2 CFR § 200.329, each grantee will be
subject to program performance reporting requirements. Reporting requirements effective during
the period of performance will be established in the grant agreement’s terms and conditions, and
reporting requirements effective after the period of performance will be established in a closeout
agreement.

During the period of performance, EPA will require each grantee to submit quarterly performance
reports within 30 days after the end of each reporting period (and with additional requirements
every fourth quarterly report i.e., annually) as well as a final performance report within 90 days
after the end of the period of performance. EPA will require that each grantee’s chief executive
officer and chief reporting officer review and submit each of these reports. EPA will use
information from these reports as part of program-wide public reporting, except to the extent such
information includes confidential business information (CBI) or personally identifiable
information (PII) pursuant to 2 CFR § 200.338.19 Included below is information that EPA may
require in these reports.

Category                Sub-Category                    Quarterly              Annual                Final
                                                        Reports                Reports               Report
Grant                   Program expenditures                      ✓                     ✓                     ✓
Expenditures
                        Closed transactions20                     ✓                     ✓                     ✓
                        Current transaction
                                                                  ✓                     ✓                     ✓
                        pipeline
Environmental           Climate and air pollution
Outputs and                                                       ✓                     ✓                     ✓
                        benefits
Outcomes21
                        Equity and community
                                                                  ✓                     ✓                     ✓
                        benefits
                        Market transformation                     ✓                     ✓                     ✓
                        benefits                         (plus case studies)22 (plus case studies)   (plus case studies)
Program
Evaluation and Program evaluation                                 ✕                     ✓                     ✓
Other Evidence-
Building        Other evidence-building                           ✕                     ✓                     ✓



19
   Information claimed as CBI in accordance with this Notice will be disclosed only to the extent, and by means of
the procedures, set forth in 40 CFR Part 2, Subpart B.
20
    Details may include origination date, origination fees, funding amount, financial product type, transaction
characteristics (interest rate, tenor, structure, amortization, and prepayment terms), project type, basic counterparty
information, and private capital mobilization; those details may be required at the transaction level and/or aggregated
by geography, sector, technology, and/or portfolio.
21
   See Section I.G: Measuring Environmental Results for example outputs and outcomes.
22
    Case studies will facilitate market transformation by demonstrating the market-wide opportunity for financial
markets and institutions to finance clean technology projects through showcasing market-wide demand for capital,
highlighting the financial performance of financial products (e.g., risk-return profile), sharing best practices on
standardization of documentation, and more.


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Organizational          Management’s discussion
Financial               and analysis of financial                 ✓
                                                                                         ✓                    ✕
Statements and          condition and results of
                                                              (as needed)
Disclosures             operations

                                                                 ✓23                     ✓
                                                                                    (audited
                        Consolidated financial               (consolidated
                                                         financial statements
                                                                                  consolidated                ✕
                        statements and notes                                  financial statements
                                                         and notes prepared
                                                                                   and notes
                                                          in accordance with
                                                                                complying with 2
                                                                GAAP)
                                                                                  CFR § 200)
                        Performance against
                        specified financial                       ✓                      ✓                    ✕
                        ratios/covenants24
                        Scope 1 and 2 emissions;
                        relevant categories of                    ✕                      ✓                    ✕
                        Scope 3 emissions25
                        Executive and board
                                                                  ✕                      ✓                    ✕
                        compensation disclosures
                        Additional board
                        disclosures (e.g., board                  ✓                      ✓                    ✕
                        meeting records)

In addition, EPA may require each grantee to:
    • Revise its investment strategy every three years, with EPA intending to publish this
        strategy, after redacting CBI and PII, unless the grantee voluntarily publishes the revised
        investment strategy;
    • Provide timely disclosure of the grantee’s events including, for example, completion of
        acquisition or disposition of assets; material impairments; changes in certifying
        accountants; non-reliance on previously issued financial statements; election, appointment,
        or departure of directors or management; and new contractor or subrecipient contracts
        substantially related to program execution; and
    • Respond to reasonable requests from EPA, from time to time, pursuant to 2 CFR §
        200.337(a), for information regarding the grantee’s operations, business affairs, plans,
        financial condition and projections, and compliance with the terms of the award agreement
        to the extent that this information is pertinent to the EPA financial assistance award.



23
   Grantees that provide unaudited financial statements, or that do not provide financial statements, in the application
process may be required to provide audited consolidated financial statements and notes as part of the initial set of
quarterly reports.
24
    EPA may assess the following financial ratios, among others: Portfolio-at-Risk Ratio, Net Asset Ratio, Self-
Sufficiency Ratio, Current Ratio, Change in Net Assets, Deployment Ratio, Operating Liquidity Ratio, and Expense
Ratio.
25
   Inventory guidance is available here for Scope 1 and 2 emissions and here for Scope 3 emissions.


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Financial and Administrative Reporting Requirements: Each grantee will be subject to
financial and administrative reporting requirements, which will be included in the grant
agreement's terms and conditions (EPA’s General Terms and Conditions are included here). These
requirements will include, but not be limited to:
    • Federal Financial Report: In accordance with 2 CFR § 200.328 and 2 CFR § 200.344,
        each grantee must submit the Federal Financial Report (SF-425) at least annually and no
        more frequently than quarterly. The frequency of reporting and report submission
        instructions will be specified in the terms and conditions.
    • Financial Records Retention: In accordance with 2 CFR § 200.334, each grantee will be
        required to retain financial records, supporting documents, statistical records, and all other
        non-Federal entity records pertinent to the grant award for a period of three years from the
        date of submission of the final expenditure report. Additional record retention requirements
        on program income used after the end of the period of performance will be specified in
        close-out agreements.
    • MBE/WBE Utilization: When required, each grantee must complete and submit a
        “MBE/WBE Utilization Under Federal Grants and Cooperative Agreements” report (EPA
        Form 5700-52A) on an annual basis.
    • Real Property Status Report: In accordance with 2 CFR § 200.329, each grantee must
        submit a “Real Property Status Report” (SF-429) to report real property status or request
        agency instructions on real property that was/will be provided as Government Furnished
        Property (GFP) or acquired (i.e., purchased or constructed) in whole or in part under a
        Federal financial assistance award.

F. Audit Requirements
In accordance with 2 CFR § 200.501(a), each grantee will be required to obtain a single audit from
an independent auditor, if the grantee expends $750,000 or more in total Federal funds in the
grantee’s fiscal year. Audits will be made public in accordance with the process described in 2
CFR § 200.512. The grantee must submit the form SF-SAC and a Single Audit Report Package
within 9 months of the end of the grantee’s fiscal year or 30 days after receiving the report from
an independent auditor. The SF-SAC and a Single Audit Report Package MUST be submitted
using the Federal Audit Clearinghouse’s Internet Data Entry System available at:
https://facides.census.gov. In addition, each grantee may be subject to additional audit
requirements, including but not limited to compliance requirements as part of any compliance
supplement to the single audit.

G. Remedies for Non-Compliance
In accordance with 2 CFR § 200.208, 2 CFR § 200.339, and 2 CFR § 200.340, EPA is provided
authority for multiple potential responses if a grantee violates the terms of the grant agreement.




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Section VII. Contact Information
Further information, if needed, may be obtained by emailing ggrf@epa.gov. Information regarding
this funding opportunity obtained from sources other than the EPA may not be accurate.




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Appendix A. Grants.gov Application Submission Instructions
A. Requirement to Submit through Grants.gov and Limited Exception Procedures
Applicants must apply electronically through Grants.gov under this funding opportunity based on
the Grants.gov instructions in this announcement. If your organization has no access to the internet
or access is very limited, you may request an exception for the remainder of this calendar year by
following the procedures outlined here. Please note that your request must be received at least 15
calendar days before the application due date to allow enough time to negotiate alternative
submission methods. Issues with submissions with respect to this opportunity only are addressed
in Appendix A.C: Technical Issues with Submission below.

B. Submission Instructions
1. SAM.gov (System for Award Management) Registration Instructions: Organizations
applying to this funding opportunity must have an active SAM.gov registration. If you have never
done business with the Federal Government, you will need to register your organization in
SAM.gov. If you do not have a SAM.gov account, then you will create an account
using login.gov26 to complete your SAM.gov registration. SAM.gov registration is FREE. The
process for entity registration includes obtaining a Unique Entity ID (UEI), a 12-character
alphanumeric ID assigned to an entity by SAM.gov that requires assertions, representations and
certifications, and other information about your organization. Please review the Entity Registration
Checklist for details on this process. If you have done business with the Federal Government
previously, you can check your entity status using your government-issued UEI to determine if
your registration is active. SAM.gov requires you to renew your registration every 365 days to
keep it active.

Please note that SAM.gov registration is different than obtaining a UEI only. Obtaining a UEI only
validates your organization’s legal business name and address. Please review the Frequently Asked
Question on the difference for additional details.

Organizations should ensure that their SAM.gov registration includes a current e-Business (EBiz)
point of contact name and email address. The EBiz point of contact is critical for Grants.gov
registration and system functionality.

Contact the Federal Service Desk for help with your SAM.gov account, to resolve technical issues,
or to chat with a help desk agent: (866) 606-8220. The Federal Service desk hours of operation are
Monday–Friday, 8 AM–8 PM (Eastern Time).

2. Grants.gov Registration Instructions: Once your SAM.gov account is active, you must
register in Grants.gov. Grants.gov will electronically receive your organization’s information, such
as EBiz point of contact email address and UEI. Organizations applying to this funding opportunity
must have an active Grants.gov registration. Grants.gov registration is FREE. If you have never
applied for a federal grant before, please review the Grants.gov Applicant
Registration instructions. As part of the Grants.gov registration process, the EBiz point of contact

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  login.gov is a secure sign-in service used by the public to sign into Federal Agency systems, including SAM.gov
and Grants.gov. For help with a login.gov account, visit login.gov/help.


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is the only person that can affiliate and assign applicant roles to members of an organization. In
addition, at least one person must be assigned as an Authorized Organization Representative
(AOR). Only person(s) with the AOR role can submit applications in Grants.gov. Please review
the Intro to Grants.gov – Understanding User Roles and Learning Workspace – User Roles and
Workspace Actions for details on this important process.

Please note that this process can take a month or more for new registrants. Applicants must ensure
that all registration requirements are met to apply for this opportunity through Grants.gov and
should ensure that all such requirements have been met well in advance of the application
submission deadline.

Contact Grants.gov for assistance at 1-800-518-4726 or support@grants.gov to resolve technical
issues with Grants.gov. Applicants who are outside the U.S. at the time of submittal and are not
able to access the toll-free number may reach a Grants.gov representative by calling 606-545-5035.
The Grants.gov Support Center is available 24 hours a day, 7 days a week, excluding federal
holidays.

3. Application Submission Process: To begin the application process under this funding
opportunity, go to Grants.gov and click the red “Apply” button at the top of the view grant
opportunity page associated with this opportunity.

The electronic submission of your application to this funding opportunity must be made by an
official representative of your organization who is registered with Grants.gov and is authorized to
sign applications for Federal financial assistance. If the submit button is grayed out, it may be
because you do not have the appropriate role to submit in your organization. Contact your
organization’s EBiz point of contact or contact Grants.gov for assistance at 1-800-518-4726
or support@grants.gov.

Applicants need to ensure that the AOR who submits the application through Grants.gov and
whose UEI is listed on the application is an AOR for the applicant listed on the application.
Additionally, the UEI listed on the application must be registered to the applicant organization's
SAM.gov account. If not, the application may be deemed ineligible.

4. Application Submission Deadline: Your organization's AOR must submit your complete
application package electronically to EPA through Grants.gov no later than October 12, 2023
at 11:59 PM (Eastern Time). Please allow for enough time to successfully submit your
application and allow for unexpected errors that may require you to resubmit.

Applications submitted through Grants.gov will be time- and date-stamped electronically. Please
note that successful submission of your application through Grants.gov does not necessarily mean
your application is eligible for an award. Any application submitted after the application deadline
will be deemed ineligible and not be considered.

C. Technical Issues with Submission
If you experience technical issues during the submission of an application that you are unable to
resolve, follow these procedures before the application deadline:


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   1. Contact Grants.gov Support Center before the application deadline.
   2. Document the Grants.gov ticket/case number.
   3. Send an email with EPA-R-HQ-NCIF-23 in the subject line to ggrf@epa.gov before the
      application deadline, which must include the following:
         a. Grants.gov ticket/case number(s)
         b. Description of the issue
         c. The entire application package in PDF format

Without this information, EPA may not be able to consider applications submitted outside of
Grants.gov. Please note that successful submission of your application through Grants.gov or email
does not necessarily mean your application is eligible for an award. Any application submitted
after the application deadline will be deemed ineligible and not be considered.

EPA will make decisions concerning acceptance of each application submitted outside of
Grants.gov on a case-by-case basis. EPA will only consider accepting applications that were
unable to be submitted through Grants.gov due to Grants.gov or relevant SAM.gov system issues
or for unforeseen exigent circumstances, such as extreme weather interfering with internet access.
Failure of an applicant to submit prior to the application deadline because they did not properly or
timely register in SAM.gov or Grants.gov is not an acceptable reason to justify acceptance of an
application outside of Grants.gov.




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Appendix B. Qualified Project Checklist
The table below provides an illustrative checklist of the eligibility requirements for a qualified
project, which applicants may use in their applications. Applicants that do not use this checklist
will not be penalized.

Qualified Project Checklist
Requirement                                                                  Rationale

□ Would the project, activity, or technology reduce or avoid
greenhouse gas emissions (including carbon dioxide,                          [Determined by
hydrofluorocarbons, methane, nitrous oxide, perfluorocarbons, and            project category,
sulfur hexafluoride) consistent with the climate goals of the United         transaction, etc.]
States?

□ Would the project, activity, or technology reduce or avoid emissions       [Determined by
of other air pollutants?                                                     project category,
                                                                             transaction, etc.]

□ Would the project, activity, or technology deliver additional
benefits to American communities within one or more of the
following four categories?
       □ Clean energy and energy efficiency                                  [Determined by
                                                                             project category,
        □ Clean transportation                                               transaction, etc.]
        □ Affordable and sustainable housing
        □ Training and workforce development

□ May the project, activity, or technology not otherwise have been           [Determined by
financed?                                                                    project category,
                                                                             transaction, etc.]

□ Would the project, activity, or technology mobilize private capital?       [Determined by
                                                                             project category,
                                                                             transaction, etc.]

□ Would the project, activity, or technology support only commercial [Determined by
technologies?                                                                project category,
                                                                             transaction, etc.]
If the project, activity, or technology would fail to meet any of the six eligibility requirements
above, then it would not be a qualified project.




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Appendix C. Guidance for Low-Income and Disadvantaged Community
Expenditures
The table below provides guidance for assessing expenditures against the requirement to expend
at least 40% of funds for the purposes of providing financial assistance in low-income and
disadvantaged communities. Expenditures for these purposes include costs for financial assistance
in low-income and disadvantaged communities as well as other costs that are reasonable and
necessary for the deployment of such financial assistance, including costs for predevelopment
activities, market-building activities, and program administration activities. Applicants may
consider this guidance in their applications.

Guidance for Low-Income and Disadvantaged Community Expenditures
Category               Requirement
a. CEJST-              □ Would the expenditure be for the purposes of providing financial
Identified             assistance for a qualified project (or set of qualified projects) in areas
Disadvantaged          identified as disadvantaged by the Climate and Economic Justice
Communities            Screening Tool (CEJST)?
b. EJScreen-           □ Would the expenditure be for the purposes of providing financial
Identified             assistance for a qualified project (or set of qualified projects) in areas
Disadvantaged          identified by EJScreen within either of the following two categories?
Communities
                               □ Within census block groups that are at or above the 90th
                               percentile for any of EJScreen’s supplemental indexes when
                               compared to the nation or state
                               □ Within Tribal lands as included in EJScreen
c. Geographically □ Would the expenditure be for the purposes of providing financial
Dispersed Low-    assistance to low-income individuals/households within either of the
Income Households following two categories for them to deploy qualified projects?
                              □ Is in a Metropolitan Area and has an income at or below the
                              greater of (1) 80% AMI (Area Median Income) and (2) 200% of
                              the Federal Poverty Level or is in a Non-Metropolitan Area and
                              has an income at or below the greater of (1) 80% AMI, (2) 80%
                              Statewide Non-Metropolitan Area AMI, and (3) 200% of the
                              Federal Poverty Level
                              □ Is currently approved for assistance from or participation in at
                              least one of the following programs, with an award letter within
                              the last 12 months:
                                       □ Low Income Home Energy Assistance Program
                                      □ Supplemental Nutrition Assistance Program
                                      □ Weatherization Assistance Program
                                      □ Lifeline Support for Affordable Communications


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                                    □ National School Lunch Program
                                    □ Supplemental Security Income
                                    □ Any other verified government or non-profit program
                                    serving Asset Limited, Income Constrained, Employed
                                    (ALICE) individuals or households designated by the EPA
                                    Administrator
d. Properties        □ Would the expenditure be for the purposes of providing financial
Providing            assistance to qualified projects on properties providing affordable
Affordable           housing that are within either of the following two categories?
Housing
                             □ Multifamily housing with rents not exceeding 30% of 80%
                             AMI for at least half of residential units and with an active
                             affordability covenant from one of the following federal or state
                             housing assistance programs:
                                    □ Low-Income Housing Tax Credit
                                    □ A housing assistance program administered by HUD
                                    □ A housing assistance program administered by USDA
                                    under Title V of the Housing Act of 1949
                                    □ A housing assistance program administered by a tribally
                                    designated housing entity
                                    □ Any other housing assistance program designated by the
                                    EPA Administrator
                            □ Naturally-occurring (unsubsidized) affordable housing with
                            rents not exceeding 30% of 80% AMI for at least half of
                            residential units
If the expenditure would fall within any of the four categories above, then it would be an
eligible use of funds for the purposes of providing financial assistance in low-income and
disadvantaged communities.




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Appendix D. Program Budget
A. Guidance for Detailed Budget Table
The detailed budget table should be attached to the Project Narrative and does not count toward
the Project Narrative’s page limit. Applicants should include applicable rows of costs for each
budget category in their budget table to accurately reflect the proposed program budget. EPA
provides detailed guidance on budget development in the Interim General Budget Development
Guidance for Applicants and Recipients of EPA Financial Assistance, but applicants may use other
forms as long as total costs per category (and specific descriptions of costs) are included and will
not be penalized for doing so in the evaluation process.

Applicants must show costs for financial assistance (i.e., direct costs for funds passed through for
financial assistance as well as associated indirect costs) separately in the detailed budget table,
with applicants evaluated on the extent to which grant funds are used for financial assistance.
Applicants must categorize direct costs for financial assistance as either subawards, participant
support costs, or acquisitions of intangible property, depending on the nature of the financial
assistance. Applicants must place subawards as well as participant support costs in the “Other”
category and acquisitions of intangible property in the “Contractual” category. Additional
guidance is included in Appendix D.B: Guidance for Financial Assistance in the Detailed Budget
Table. To facilitate consideration of an application for partial funding, EPA recommends
that applicants separate costs for financial assistance in the program budget by project
category, to the extent practicable.

Applicants must itemize costs related to personnel, fringe benefits, travel, equipment, supplies,
contractual costs (including acquisitions of intangible property), other direct costs (including
subawards and participant support costs), indirect costs, and total costs. Applicants should be
aware that if their proposals include using Federal funds for a project that includes the purchase of
goods, products, and materials on any form of construction, alteration, maintenance, or repair of
infrastructure in the United States, they must comply with the Build America, Buy America Term
and Condition if they are selected for an award.

   •   Personnel - List all staff positions by title. Give annual salary, percentage of time
       assigned to the project, and total cost for the budget period. This category includes
       only direct costs for the salaries of those individuals who will perform work directly for
       the program (paid employees of the applicant organization as reflected in payroll tax
       records). Personnel costs do not include: (1) costs for services of contractors (including
       individual consultants), which are included in the “Contractual” category; (2) costs for
       employees of subrecipients under subawards or non-employee program participants (e.g.,
       interns or volunteers), which are included in the “Other” category; or (3) effort that is not
       directly in support of the proposed program, which may be covered by the organization’s
       negotiated indirect cost rate. The budget table must identify the personnel category type by
       Full Time Equivalent (FTE), including percentage of FTE for part-time employees, number
       of personnel proposed for each category, and the estimated funding amounts.

   •   Fringe Benefits - Identify the percentage used, the basis for its computation, and the
       types of benefits included. Fringe benefits are allowances and services provided by


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    employers to their employees as compensation in addition to regular salaries and wages.
    Fringe benefits may include, but are not limited to, the cost of leave, employee insurance,
    pensions, and unemployment benefit plans. If the applicant’s fringe rate does not include
    the cost of leave, and the applicant intends to charge leave to the agreement, it must provide
    supplemental information describing its proposed method(s) for determining and equitably
    distributing these costs.

•   Travel - Specify the mileage, per diem, estimated number of trips in-state and out-of-
    state, number of travelers, and other costs for each type of travel. Travel may be:
    integral to the purpose of the proposed program (e.g., site visits); related to proposed
    program activities (e.g., attendance at community engagement meetings); or for a technical
    training or workshop that supports effective implementation of the program activities (e.g.,
    consumer awareness activities). Only include travel costs for employees in the travel
    category. Travel costs do not include: (1) costs for travel of contractors (including
    consultants), which are included in the “Contractual” category; or (2) travel costs for
    employees of subrecipients under subawards and non-employee program participants (e.g.,
    trainees), which are included in the “Other” category. Further, travel does not include bus
    rentals for group trips, which would be covered under the “Contractual” category. Finally,
    if the applicant intends to use any funds for travel outside the United States, it must be
    specifically identified. All proposed foreign travel must be approved by EPA’s Office of
    International and Tribal Affairs prior to being taken.

•   Equipment - Identify each item to be purchased that has an estimated acquisition cost
    of $5,000 or more per unit and a useful life of more than one year. Equipment also
    includes accessories necessary to make the equipment operational. Equipment does not
    include: (1) equipment planned to be leased/rented, including lease/purchase agreement;
    or (2) equipment service or maintenance contracts that are not included in the purchase
    price for the equipment. These types of proposed costs must be included in the “Other”
    category. Items with a unit cost of less than $5,000 must be categorized as supplies,
    pursuant to 2 CFR § 200.1. The budget table must include an itemized listing of all
    equipment proposed under the program. If installation costs are included in the equipment
    costs, labor expenses shall be itemized with the detailed number of hours charged and the
    hourly wage. If the applicant has written procurement procedures that define a threshold
    for equipment costs that is lower than $5,000, then that threshold takes precedence.

•   Supplies - “Supplies” means all tangible personal property other than “equipment.”
    The budget detail should identify categories of supplies to be procured (e.g.,
    laboratory supplies or office supplies). Non-tangible goods and services associated with
    supplies, such as printing services, photocopy services, and rental costs must be included
    in the “Other” category.

•   Contractual - Identify proposed contracts, specifying the purpose and estimated cost
    for typical contractual services and disaggregating any costs for acquisitions of
    intangible property. Contractual services (including consultant services) are those
    services to be carried out by an individual or organization, other than the applicant, in the
    form of a procurement relationship; this includes costs for acquisitions of intangible


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    property, such as equity investments as well as purchase of loans. The EPA Subaward
    Policy and supplemental frequently asked questions have detailed guidance available for
    differentiating between contractors and subrecipients. Leased or rented goods (equipment
    or supplies) must be included in the “Other” category. EPA does not require applicants to
    identify specific contractors, but if an applicant does so they must demonstrate that the
    contractor was selected in compliance with competitive procurement requirements in 2
    CFR Parts 200 and 1500.

    In the budget description, the applicant should list the proposed contract activities along
    with a brief description of the anticipated scope of work or services to be provided,
    proposed duration, and proposed procurement method (competitive or non-competitive), if
    known. Any proposed non-competed/sole-source contracts in excess of the applicant’s 2
    CFR § 200.320(a) micro-purchase threshold (generally $10,000) must include a
    justification. Note that EPA rarely accepts proposed sole source contracts for goods and
    services (e.g., consulting) that are widely available in the commercial market absent a
    copyright, patent, or equipment warranty requirement or similar restriction that establishes
    that only one source can provide the necessary good or service; unique qualifications or
    long-standing relationships with a grantee do not provide an adequate basis for a sole
    source contract. Applicants must provide the aggregate amount they propose to issue as
    acquisitions of intangible property as a separate line item in the “Contractual” category.
    Refer to the EPA Best Practice Guide for Procuring Services, Supplies, and Equipment
    Under EPA Assistance Agreements for EPA’s policies on competitive procurements and
    encouraging the use of small and disadvantaged business enterprises.

•   Other - List each item in sufficient detail for EPA to determine the reasonableness
    and allowability of its cost. This category should include only those types of direct costs
    that do not fit in any of the other budget categories, including subawards, participant
    support costs, and additional costs (e.g., insurance, costs for acquiring or improving real
    property, rental/lease of equipment or supplies, equipment service or maintenance
    contracts, and printing or photocopying). Subawards and participant support costs (e.g.,
    subsidies) are distinct types of costs under this category. Subcontracts are not subawards
    and belong in the “Contractual” category. Applicants must provide a budget that shows the
    aggregate amounts they propose to issue as subawards and as participant support costs as
    separate line items in the “Other” category. Additional guidance is available in the EPA
    Subaward Policy and EPA Guidance on Participant Support Costs.

•   Indirect Costs - If indirect costs are budgeted, indicate the approved rate and
    distribution base. Indirect costs are those incurred by the grantee for a common or joint
    purpose that benefit more than one cost objective or project and are not readily assignable
    to specific cost objectives or projects as a direct cost. Indirect costs must be based on a rate
    approved by the applicant’s cognizant Federal agency or the 10% de-minimus rate
    authorized by 2 CFR § 200.414(f). Note that Modified Total Direct Costs, as defined in
    2 CFR § 200.1, does not include acquisitions of intangible property, which are
    contractual expenses but are not “services;” instead, acquisitions of intangible
    property are “capital expenditures.” Additional indirect cost guidance is available in




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       Indirect Cost Guidance for Recipients of EPA Assistance Agreements and in Section VI.u,
       “IDC Competition Clause,” of the EPA Solicitation Clauses.

Note on Management Fees: When formulating budgets for applications, applicants must not
include management fees or similar charges in excess of the direct costs and indirect costs at the
rate approved by the applicant’s cognizant federal audit agency, or at the rate provided for by the
terms of the agreement negotiated with EPA. The term “management fees or similar charges”
refers to expenses added to the direct costs in order to accumulate and reserve funds for ongoing
business expenses, unforeseen liabilities, or other similar costs that are not allowable under EPA
assistance agreements. Management fees or similar charges cannot be used to improve or expand
the program funded under this agreement, except to the extent authorized as a direct cost of
carrying out the work plan.

B. Guidance for Financial Assistance in the Detailed Budget Table
As described in Section I.D: Competition Terminology, grantees’ expenditures for financial
assistance will be in the form of subawards, participant support costs, and acquisitions of intangible
property for a financial assistance purpose, as defined in 2 CFR § 200.1, with the characterization
dependent on the nature of the financial assistance. For the detailed budget table, applicants must
categorize costs for financial assistance within these three characterizations. Additional guidance
is provided below on how to characterize financial assistance within these three characterizations.

Subaward: 2 CFR § 200.1 defines a subaward as “an award provided by a pass-through entity to
a subrecipient for the subrecipient to carry out part of a Federal award received by the pass-through
entity.” 2 CFR § 200.1 defines a Pass-through entity as “a non-Federal entity that provides a
subaward to a subrecipient to carry out part of a Federal program” and a Subrecipient as “an
entity…that receives a subaward from a pass-through entity to carry out part of a Federal award;
but does not include an individual that is a beneficiary of such award.” EPA advises applicants to
characterize loan originations and full loan guarantees as subawards. Subawards must be included
in the “Other” category of the detailed budget table as well as aggregated and separated from all
other costs such that they can be identified as a separate line item.

Participant Support Costs: 2 CFR § 200.1 defines participant support costs as “direct costs for
items such as stipends or subsistence allowances, travel allowances, and registration fees paid to
or on behalf of participants or trainees (but not employees) in connection with conferences, or
training projects.” EPA regulations at 2 CFR § 1500.1(a)(1) expands the definition of participant
support costs to include “[S]ubsidies, rebates, and other payments to program beneficiaries to
encourage participation in statutorily authorized environmental stewardship programs” such as the
Greenhouse Gas Reduction Fund. EPA advises applicants to characterize credit enhancements that
are “subsidies” (such as partial loan guarantees or loan loss reserves) as participant support costs.
Participant support costs must be included in the “Other” category of the detailed budget table as
well as aggregated and separated from all other costs such that they can be identified as a separate
line item.

Acquisition of Intangible Property: 2 CFR § 200.1 defines intangible property as “property
having no physical existence, such as trademarks, copyrights, patents and patent applications and
property, such as loans, notes and other debt instruments, lease agreements, stock and other


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instruments of property ownership (whether the property is tangible or intangible).” EPA advises
applicants to characterize equity investments (including project finance equity investments, private
equity investments, and other forms of equity) and loan purchases as acquisitions of intangible
property through procurement contracts. Acquisitions of intangible property must be included in
the “Contractual” category of the detailed budget table as well as aggregated and separated from
all other estimated contractual costs (e.g., consulting services) such that they can be identified as
a separate line item.




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